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                            UNITED STATES DISTRICT COURT

                             DISTRICT OF MASSACHUSETTS


                                    )

UNITED STATES OF AMERICA            )

                                    )
       v.                           )      CRIMINAL NO. 04-10029-GAO

                                    )

DANIEL E. CARPENTER                 )

                                    )




             MOTION TO VACATE CONVICTION AND REDUCE SENTENCE

                              PRELIMINARY STATEMENT

       I, Daniel E. Carpenter, (hereinafter "Petitioner", "Mr. Carpenter", "I" or "me"), submit

this Memorandum in support of my Petition to Vacate my conviction and/or Reduce my sentence

pursuant to 28 U.S.C. §2255. Not only was I an innocent man who was the victim of egregious

prosecutorial misconduct in not just one but two trials, I was also the victim of malicious and

vindictive prosecutions in other states caused by the US Attorney's Office in Boston, and the

victim of ineffective and incompetent counsel that abandoned me in favor of the real villain in

this saga, Merrill Lynch. In my second trial in 2008 and throughout the inexplicable delay from

December 3, 2008 to September 1, 2011, that the First Circuit apologized for at the end of its

November 2013 opinion, when my second new trial order was granted for egregious

prosecutorial misconduct, I also became the victim of what can only be called both

"incompetent" and "ineffective" assistance of counsel that led the First Circuit to overturn my

New Trial Order in November 2013, and that caused this Court to comment that my counsel's

"right hand did not know what the left hand was doing." If my ineffective counsel had only

objected to the AUSA's closing comments of "THAT'S FRAUD", then I would be a free man to

this day.
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       Similarly, upon discovering just before the hearing on Dec 3, 2008 that the Exchangors

had filed their own lawsuit in February of 2008 against Merrill Lynch that not only does not

mention my name, it contradicts the government's entire theory of the case against me (that

because I hid the nature of BPETCO's source of third-party funds from Merrill, I may have

deceived the Exchangors as well), the government should have lived up to their Brady-Giglio­

Bagley obligations and requested a new trial for me, and my previous counsel, Greenberg

Traurig, should have demanded a new trial pursuant to Rule 33 at my post trial brief hearing on

Dec 32008.

       Both prior to and after my trial in June of 2008, and throughout 2009, 2010 and 2011, I

was effectively abandoned by my counsel at the time, Greenberg Traurig, and left on my own to

provide over 30,000 pages of documents to the government and to the Court to show that not

only did the Merrill witnesses lie, so, too, did the Exchangors and the attorneys for both Merrill

and the Exchangors, who sat behind the prosecutors for each and every day of my three week

trial. Does the Court really believe that neither the attorneys for Merrill nor the attorneys for the

Exchangors ever mentioned the Iantosca February 2008 lawsuit that Attorney Zelle tried to keep

buried so that I would not find out about it by using lantosca's name instead of Cahaly's? What

about the new FBI 302 Reports done by the government just before trial? Didn't everyone lie on

those 302 Reports as well? If the government truly had no knowledge of the February 2008

lawsuit in June of 2008 despite me signing over my arbitration victory against PaineWebber to

the Exchangors at the behest of Greenberg Traurig in June of 2008 just before the trial was to

begin, then they certainly had an obligation under Brady-Giglio-Bagley to find out about it in

December of 2008 when asked about it at the hearing. The fact that Greenberg Traurig did not

investigate it is a classic "ineffective assistance of counsel" complaint that will be discussed



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below. The fact that the government never investigated the Exchangors' February 2007 lawsuit

or the Merrill witnesses' collective perjury is a classic Due Process and Brady-Giglio-Bagley

violation after the famous senator Ted Stevens case, United States v. Stevens, 593 F.Supp.2d 177

(D.C. Jan. 16,2009).

       But even more damaging to me was the fact that Greenberg Traurig effectively "dropped"

and abandoned me gradually over time as they picked up more and more work from Merrill

Lynch, which clearly caused a conflict that was both detrimental and prejudicial to me. Because

of this abandonment and betrayal, Greenberg Traurig never followed up on the February 2008

Iantosca lawsuit matter or the Merrill Lynch perjury issues during the inexplicable delay from

December 3, 2008 to Sept 1, 2011 when my new trial order was granted, because they knew that

they would have to directly confront their new big paying client, Merrill Lynch, to defend me.

That is why Greenberg Traurig did not file a protective Rule 33 Motion on my behalf based on

newly discovered evidence during this time period which is yet another classic example of

"ineffective counsel" that prejudiced me, and demands that my conviction be vacated on that

basis alone. In fact, I did not receive a copy of the February 2008 lantosca lawsuit until April

2009 when a friend sent it to me. Even more remarkable is that the government had no interest

in following up on the Iantosca lawsuit or the volumes of evidence showing that all of the Merrill

Lynch witnesses lied, not just Stern, Levine and Rasmussen but all of the Merrill Lynch

witnesses that gave FBI 302 reports that were read into evidence by FBI Agent Caldwell during

my Grand Jury hearing as if it was first party non-hearsay gospel truth. Instead, everyone of the

FBI reports read to the Grand Jury was not just hearsay, but absolutely a pack of lies. Instead of

investigating the truth, the government's consistent response to all of this exculpatory evidence in

my favor proving my good faith and negating any specific intent that I was out to defraud anyone



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was that the evidence was merely "cumulative" or was just relevant to the Exchangors or

Merrill's internal business discussions.

       To the contrary, the February 2008 lawsuit brought in the name of Iantosca v. Merrill,

despite the fact that Iantosca was in a nursing home and was non compos mentis, clearly states

that BPETCO and its officers were totally open and forthright with Merrill on the source of the

funding, thereby proving my good faith and that I had no "specific intent" to defraud anyone

whether it be Merrill Lynch or the Exchangors. As the Court itself said at my sentencing, "Mr.

Carpenter always intended to pay back the money." And, in fact, I did pay it all back and more in

June of 2008 before the second trial began. This fact was wrongfully kept from the jurors by the

government.     Moreover, the government knew by 2009 that all of their broker witnesses

committed perjury; not just Mitch Rock, "who had $13 million reasons to lie," or Lori Enright

who the Court paused to explain her rights against self-incrimination, or even Martin Paley

whose testimony was so incredible at the first trial in 2005, the Court felt obliged to spend

several pages detailing Paley's perjury. But, in 2009 and 20 I0, an avalanche of new evidence

came out showing not just that Levine lied (and the government knew it), but Stern and even

Rasmussen, Merrill's compliance manager, lied as well. Moreover, the government had over

30,000 pages of evidence and countless depositions showing that everyone at Merrill lied except

Nancy Sawyer, the business manager of the Merrill Lynch office that the FBI and the

government never interviewed, despite my repeated requests to do so.

        Throughout 2009,2010, and 2011, my attorneys submitted various documents to both the

government and the Court, and I was told by my ineffective counsel that either the government

would drop the charges or agree to a new trial under Rule 33 because of the massive perjury in

this case. See, e.g., Okt. 352. But, the one thing that my incompetent counsel did not do was file



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a Rule 33 motion on a protective basis from June 2008 to June 2011 concerning the Iantosca

February 2008 lawsuit or the Merrill Lynch perjury, leaving me exposed to the very thing that

happened here with the overturning of my New Trial Order. The Merrill perjury has infected the

entire course of the investigation, the Grand Jury, the indictment, the trial, and the appeals in this

case. I was unaware, but have since discovered that Merrill officials lied to the SEC in three

separate investigations concerning BPETCO. On June 14, 2014, the Massachusetts Appellate

Court concluded that Merrill's attorneys had worked in a concerted effort to suborn perjury,

destroy evidence, and refuse to turn over critical evidence that would have hurt Merrill and

exonerated me. See Cahaly v. BPETCO, No. 12-P-956 (Mass. App. 2014). But, because my

ineffective and deficient counsel did not do a Rule 33 Motion to protect me, I am currently

sitting in prison awaiting the outcome of my various appeals, and none of the perjurors in my

case have been prosecuted.

       The pernicious perjury of Paley, the Exchangors and Merrill's brokers not only infected

the trial, it infected the Grand Jury proceedings as well. Even a cursory glance at my Grand Jury

transcripts show that there was effectively only one witness, FBI Special Agent Caldwell, who

did nothing but recite from the FBI 302 Reports the lies that Paley and the Merrill personnel told

him. Not only was this "hearsay" testimony, the government vouched for the credibility and

reliability of it as if Stern, Levine, Rasmussen, and Hassan Tabbah (Merrill's manager) were

testifying through Agent Caldwell, it was all a pack of lies. And, when one Grand Juror asked

questions about what Paley knew and what the brokers knew, AUSA Pineault cleverly directed

them away from the truth that I was perfectly open and transparent with everyone I talked to at

Merrill, and with Paley as well.       While "hearsay" evidence is permissible in Grand Jury

proceedings, perjury, deception, and outright lies and second hand reporting are not.



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       There is no question that I have Brady-Giglio-Bagley claims that would rival the

prosecutorial misconduct depicted in Sidney Powell's recent book Licensed to Lie, but the First

Circuit also has a longstanding history and policy that convictions based on the use of perjured

testimony cannot be allowed to stand. See, e.g., United States v. Maldonado-Rivera, 489 F.3d 60

(1 st Cir. 2007) ("the government was guilty of the knowing use of perjured testimony"). As this

Court is well aware, this First Circuit tradition is based on well-established Supreme Court

precedent that a conviction obtained through the prosecutions knowing use of perjury,

deception, and outright lies cannot stand. See, e.g., Mooney v. Holohan, 294 U.S. 103, 112

(1935), Napue v. l/linois, 360 U.S. 264, 269 (1959).

       Finally, because everything about this case from beginning to end was rotten to the core,

I will challenge the indictment pursuant to Rule 12(b)(3)(B) as I am allowed to do under the

Federal Rules of Criminal Procedure under a separate motion. And, because the Court knows

that I have consistently argued that Venue was not appropriate in this case from the beginning, I

wish to bring to the Court's attention the Third Circuit's recent decision in United States v.

Auernheimer, Crim. No. ll-cr-470 (SDW) (3d Cir. April 11,2014). Because of the nature of28

U.S.C. §2255 proceedings, that any issue I do not bring up now will forever be forfeited, and

there is so much wrong with this case, I beg the Court's indulgence and apologize in advance,

because this will be a very long and comprehensive memorandum in many sections analyzing in

detail the many violations of my Constitutional rights that deprived me of my rights to Due

Process, and a Speedy and Fair Trial, with the effective assistance of counsel.

       But, suffice it to say, it is my fervent hope that the Court will see that both the

Exchangors and the Merrill witnesses lied and deceived the Court as well as the government

prosecutors to preserve their own selfish interests to a judicial jackpot of over $50 million on an



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$8 Million investment at the expense of my freedom, and that the government prosecutors

presented both sets of perjurers as trust worthy witnesses that they vouched for and then

protected them from prosecution for their perjurious testimony that is undisputable now; and that

I was the victim of gross "ineffective assistance of counsel" due to Greenberg Traurig's lack of

investigation, research or even objections to the outrageous government misconduct that should

shock the conscience of this Court; and based on these indisputable facts, grant my §2255

Petition to vacate my conviction and dismiss the indictment against me, or at the very least

commute my sentence to time served and eliminate any fines, forfeitures, and restitution against

me due to the severe prosecutorial misconduct against me that deprived me of Due Process and a

fair trial free of the taint of perjury.




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   I.        JURISDICTION

        Title 28, United States Code, Section 2255 permits a person in custody under sentence of

a court established by an Act of Congress to move the court which imposed sentence to vacate,

set aside, or correct the sentence on the grounds that the sentence was imposed in violation of the

Constitution or laws of the United States, or that the court was without jurisdiction to impose

such sentence, or that the sentence was in excess of the maximum authorized by law, or is

otherwise subject to collateral attack. 28 U.S.C. §2255.

        On February 26, 2014, I was sentenced to 36 months incarceration by this Court. I am

presently in the custody of the Bureau of Prisons at USP Canaan in Waymart, Pennsylvania. I

have steadfastly proclaimed my innocence of any wrongdoing in this matter, have consistently

objected to venue being proper in Massachusetts, have always believed that this Court lacks

jurisdiction to try me for mail and wire fraud, and have always felt that I was a victim of both

egregious prosecutorial misconduct and malicious prosecutorial vindictiveness. Now, pursuant

to 28 U.S.c. §2255, I seek to have my conviction and sentence vacated due to the ineffective

assistance of counsel as well as the other above-listed issues since that ineffectiveness and

incompetence was pointed out so graphically and in great detail by the First Circuit in

overturning my second New Trial Order in November of2013, and by this Court in ruling on the

newly-discovered Merrill Lynch evidence in May of last year. Because of my incarceration and

pending appeal made to the Supreme Court, this Court has jurisdiction to hear this timely-made

motion.

          Additionally, the First Circuit has repeatedly held that fact-specific ineffective assistance

of counsel claims, such as those detailed herein, should be raised in habeas proceedings, not

direct appeal:



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       "The rule in this circuit is that a fact-specific claim of ineffective legal assistance cannot
       be raised initially on direct review of a criminal conviction, but must originally be
       presented to the district court." United States v. Hunnewell, 891 F.2d 955, 956 (lst Cir.
       1989). This practice exists largely to allow for full development of the record needed to
       "place the adequacy of a defendant's representation into proper perspective." United
       States v. Natanel, 938 F.2d 302 (lst Cir. 1991).

United States v. Osorio-Pena, 247 F.3d 14, 19-20 (lst Cir. 2001); see also United States v.

Leahy, 473 F.3d 401, 410 (lst Cir. 2007) (noting that court has '''held with a regularity bordering

on the monotonous that fact-specific claims of ineffective assistance cannot make their debut on

direct review of criminal convictions, but, rather, must originally be presented to, and acted upon

by, the trial court"'), quoting United States v. Mala, 7 F.3d 1058, 1063 (l st Cir. 1993). As such,

the claims made herein are properly made to this Court in the first instance, and because I am

currently incarcerated at this time, pursuant to 28 U.S.C. §2255, this Court has jurisdiction to

hear this timely-made Motion to Vacate my Conviction and Sentence, or at the very least, to

reduce my sentence to a year and a day because there was no actual loss in this case and as the

Court mentioned at my sentencing hearing, there never was any intended loss, so Your Honor

should order my immediate release from prison based on the time that I have already served.




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   II.	      MY CONVICTION MUST BE VACATED AND THE INDICTMENT MUST
             BE DISMISSED AS MASSACHUSETTS WAS NOT THE PROPER VENUE
             FOR ANY OF THE COUNTS

          As this Court stated in its decision from my first trial: "Mr. Carpenter has persistently

maintained an objection to venue in this District." United States v. Carpenter, 405 F. Supp. 2d

85, 88 (D. Mass. 2005). It is guaranteed by the Constitution that a criminal defendant has the

right to be tried in an appropriate venue. The importance of this right to the Founders is

emphasized by the fact that it is mentioned in the Declaration of Independence as a complaint

and not once, but twice, in the text of the Constitution. See U.S. Const. art. III, § 2, cl. 3 ("The

Trial of all Crimes ... shall be held in the State where the said Crimes shall have been committed

...."); id. amend. VI (requiring trial of a criminal case "by an impartial jury of the State and

district wherein the crime shall have been committed"). Congress has further entrenched these

norms by an explicit directive that limits a criminal prosecution to "a district in which the offense

was committed." Fed.R.Crim.P. 18. This rule "echoes the constitutional commands." United

States v. Cabrales, 524 U.S. 1, 6 (1998). The result is meant to be a safety net for the defendant,

which ensures that a criminal defendant cannot be tried in a distant, remote, or unfriendly forum

as has happened to me not once, but twice.

          In the instant matter, venue with the Massachusetts District Court was improper as I was

not a resident of Massachusetts, had never visited Massachusetts in the past 10 years (with the

exception of required court appearances), and the government has alleged no overt acts by me

with any connection to the State of Massachusetts in the Indictment. Because it is indisputable

that I did not perform any "essential conduct element" of the crime charged and alleged in the

Indictment in the district of Massachusetts, my conviction must be reversed and vacated and a




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judgment of acquittal be issued to me on all charges. See United States v. Auernheimer, Crim.

No. 11-cr-470 (SDW) (3d Cir. April 11,2014).

       As explained in Auernheimer, these constitutional provisions manifest a strong

constitutional policy disfavoring trials removed from the situs of the alleged criminal activity.

As explained by the First Circuit:

       Venue in a criminal case is not an arcane technicality. It involves matters that touch
       closely the fair administration of criminal justice and public confidence in it. .. The result
       is a safety net, which ensures that a criminal defendant cannot be tried in a distant,
       remote, or unfriendly forum solely at the prosecutor's whim.

United States v. Salinas, 373 F.3d 161, 162, 164 (lst Cir. 2004). Under the standard set in

Cabrales, Salinas, and Aurenheimer, I committed no act in Massachusetts, so it is clear that I

committed no crime triable in a Massachusetts court. If "non-disclosure" was the problem, that

conduct or lack of conduct was in Connecticut. If trading options or losing money was the

"crime," then that happened in the Southern District of New York. Moreover, there was zero

evidence adduced at trial showing any conduct of mine that actually "caused" the mailings or

wires, and it is clear that all of these mailings and wires were non-fraudulent and not in

furtherance of any scheme to defraud.

       It is guaranteed by the Constitution that a criminal defendant's right to proper venue is

protected in two places: Article III, and the Sixth Amendment. United States v. Anderson, 328

U.S. 699, 703 (l946) ("[T]he locus delicti must be determined from the nature of the crime

alleged and the location of the act or acts constituting it.").          These Congressional and

Constitutional protections are meant to provide a safety net, which ensures that a criminal

defendant cannot be tried in a distant, remote, or unfriendly forum (see United States v. Salinas,

373 F.3d 161, 164 (lst Cir. 2004)).




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       In a criminal case, "venue must be narrowly construed." United States v. Jefferson, 674

F.3d 332, 365 (4th Cir. 2012).        "Venue .. .is an element. ..which must be proved ... by a

preponderance of the evidence." United States v. Miller, 111 F.3d 747, 749-50 (lOth Cir. 1997).

Hence, all of the counts in this case should be dismissed for lack of proper venue, because I had

nothing to do with inducing any the Exchangors to work with Paley or BPETCO. As with a lack

of subject matter jurisdiction, improper venue requires dismissal of the indictment or a judgment

of acquittal. See United States v. Strain, 396 F.3d 689 (5th Cir. 2005), reh 'g denied, 407 F.3d

379, 380 (5th Cir. 2005) (remanding for entry of judgment of acquittal due to the government's

failure to prove venue and stating that such failure "does not entitle the government to a second

chance at prosecution"). Not only must the government prove venue by a preponderance of the

evidence at trial, see Salinas at 163, but the government must also allege sufficient facts in the

Indictment to establish proper venue ab initio.

       A defendant in a criminal case has a constitutional right to be tried in a proper venue.

Johnson, 323 U.S. at 275 (noting that two constitutional provisions, Article III, §2, cl. 3 and the

Sixth Amendment both provide a right to trial in the state where the crime is committed); United

States v. Uribe, 890 F.2d 554, 558 (lst Cir. 1989); see also Fed. R. Crim. P. 18. The government

bears the burden of proof on the issue of venue. United States v. Lanoue, 137 F.3d 656, 661 (l st

Cir. 1998). "[I]t is readily apparent that venue requirements promote both fairness and public

confidence in the criminal justice system."        Johnson, 323 U.S. at 276.      Venue must be

determined by the nature of the crime alleged, by analyzing the actual conduct of the defendant

constituting the offense and the location of the criminal act. Scott, 270 F.3d at 35. More than a

de minimis connection to the district is required. Uribe, 890 F.2d at 559.




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        The alleged facts in this matter are very similar to those presented in Salinas, in that any

alleged conduct or omissions by me occurred outside of Massachusetts.            The defendant in

Salinas was prosecuted for passport fraud not in New York, where the defendant applied for the

passport at the post office, but in New Hampshire, where the fraud was discovered by the

Passport Office. The Court dismissed the indictment for lack of venue finding that all of the

criminal conduct, the elements of the offense, occurred in New York. Id. at 165-170. Similarly,

in this case, there was simply no justification for laying venue in Massachusetts as all the alleged

conduct by me occurred in Connecticut or the Southern District of New York.              Rightly or

wrongly, anything that I did or did not do, I did only in Connecticut, and the Indictment does not

contradict this fact.

        When an indictment charges a defendant with multiple counts, "venue must be proper

with respect to each count." United States v. Beech-Nut Nutrition Corp., 871 F.2d 1181, 1188

(2d Cir. 1989). See also Travis v. United States, 364 U.S. 631, 635 (1961) ("Where Congress is

not explicit, the locus delicti must be determined from the nature of the crime alleged and the

location of the act or acts constituting it") (internal quotation marks omitted). Moreover, that the

Supreme Court has construed a necessary connection between venue and the conduct elements of

an offense. In general, this connection means that a criminal defendant's own actions will

determine where venue can be laid. Expanding venue for mail and wire fraud in the way that

the government has done in the Indictment would unhinge this connection and give the

government unlimited control of determining where someone can be tried. I had nothing to do

with causing any of the mailings or wires, nor were they foreseeable to me because I had no idea

who Paley was talking to. Under the government's idea of venue, I could have been tried in

Alaska, Florida, or California if Paley had friends or relatives there that did a property exchange



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between August and December 2000. That is not how venue is determined in the First Circuit or

any other circuit. For that reason alone, my conviction must be overturned and vacated and a

judgment of acquittal entered as to all counts.

       This matter should also be dismissed in consideration of the traditional Constitutional

venue requirements. The Sixth Amendment to the United States Constitution provides that: "In

all criminal prosecutions, the accused shall enjoy the right to a speedy and public trial, by an

impartial jury of the state and district wherein the crime shall have been committed, which

district shall have been previously ascertained by law." U.S. Cont. amend. VI. Furthermore, Fed.

R. Crim. P. Rule 18 states that unless a statute or the rules of procedure themselves permit

otherwise, the government must prosecute an offense in the district where the offense was

committed.

       "Venue is proper only where the acts constituting the offense - the crime's 'essential

conduct elements' - took place."        United States v. Tzolov, 642 F.3d 214, 218 (2d Cir.

2011)(dismissing fraud claim brought in the EDNY instead of the SONY, literally one subway

stop away in New York). See also United States v. Brennan, 183 F.3d 139, 147 (2d Cir. 1999)

(holding that "prosecution under the mail fraud statute is permissible only in those districts in

which a proscribed act occurs"), and Salinas, where the defendant's indictment was dismissed

due to improper venue because illegal activity occurred in New York, but was only discovered in

New Hampshire. The Second Circuit, where I should have been tried, if I was tried at all, has

enumerated four factors used to determine whether venue is constitutionally permissible: (l) the

site of the defendant's acts; (2) the elements and nature of the crime; (3) the locus of the effect of

the criminal conduct; and (4) the suitability of the district for accurate fact finding. United States




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v. Reed, 773 F.2d 447, 481 (2d Cir. 1985); see also United States v. Beech-Nut Nutrition Corp.,

871 F.2d 1181, 1188 (2dCir. 1989).

       In United States v. Bezmalinovic, 962 F. Supp. 435 (S.D.N.Y. 1997), the court dismissed

a bank fraud charge for lack of venue.         The indictment charged a scheme to defraud

Manufacturers Hanover Trust ("MHT") by obtaining a mortgage using a false application.

Bezmalinovic allegedly prepared a false application in the Eastern District of New York

("EONY"), submitted the application to MHT in the EONY, more commonly known as

Brooklyn, received proceeds via checks drawn on an account in the EONY, and then deposited

those checks into my account in the EDNY.

       Very similar to my case, the government argued that venue was proper in the SDNY

because, after the checks were deposited into a Chemical Bank account in the EONY, the checks

were sent to a processing center in Manhattan where each check was credited to Bezmalinovic's

account, and each check was then forwarded to a clearing house in Manhattan. Finally, the

checks were sent to MHT's processing center in Manhattan, where they were debited from

MHT's closing account.

       However, the court in Bezmalinovic did not agree with the government's determination of

venue and held that the ministerial processing of the checks in Manhattan did not provide a

sufficient constitutional basis for venue in the SONY. The court further noted that the "only acts

alleged to have occurred in the [SDNY] are the ministerial actions taken by MHT and Chemical

Bank in the process of crediting defendant's account." Id. at 437. In addition, the court stated

that the indictment did "not allege[] that those acts were intended or foreseen by defendant." Id.

The court concluded that the ministerial acts of debiting and crediting accounts as alleged in the

indictment did not constitute "substantial contacts" within the SONY sufficient for venue to be



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constitutionally permissible, Id. at 441. Moreover, in United States v. Novak, 443 FJd 150 (2d

Cir. 2006), another case of just one subway stop away, the defendant challenged jurisdiction in

the EDNY when the evidence showed (and the government agreed) that the alleged offenses

actually took place in the SDNY. If Brooklyn is a "distant, remote, and unfriendly forum" from

New York City, imagine how I feel as a Connecticut Yankee trapped in a Boston court. Salinas

at 164.




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   III.	      MY CONVICION MUST                 BE      VACATED       DUE     TO    INEFFECIVE
              ASSISTANCE OF COUNSEL

           "Ineffective assistance under Strickland is deficient performance by counsel resulting in

prejudice, with performance being measured against an 'objective standard of reasonableness,'

'under prevailing professional norms.'" Rompilla v. Beard, 545 U.S. 374, 380 (2005); Strickland

v. Washington, 466 U.S. 668 (1984). Prejudice occurs when there is "a reasonable probability

that, but for counsel's unprofessional errors, the result of the proceeding would have been

different." "A reasonable probability is a probability sufficient to undermine confidence in the

outcome." Strickland at 694. Counsel has a duty to investigate the facts of the case and learn the

law of the case. Correale v. United States, 479 F.2d 944 (1st Cir. 1973). As detailed below,

Greenberg Traurig did neither; leaving me defenseless and abandoned.            It is by now well-

established that counsel's failure to conduct an adequate investigation into potential defenses can

constitute ineffective assistance of counsel. See, also, Murchu v. United States, 926 F.2d 50 (I st

Cir. 1991).

       Under Strickland, the Court "first determine[s] whether counsel's representation 'fell

below an objective standard of reasonableness.''' Padilla, 130 S. Ct. 1473,1480 (2010), quoting

Strickland, 466 U.S. at 2052. The Court then asks whether "there is a reasonable probability

that, but for counsel's unprofessional errors, the result of the proceeding would have been

different." Strickland, 466 U.S. at 694. The Padilla Court set forth the "first prong" analysis as

follows:

       The first prong - constitutionally deficiency - is necessarily linked to the practice and
       expectations of the legal community: 'The proper measure of attorney performance
       remains simply reasonableness under prevailing professional norms." We long have
       recognized that "[p]revailing norms of practice as reflected in American Bar Association
       standards and the like ... are guides to determining what is reasonable ...." Although they
       are "only guides," and not "inexorable commands," these standards may be valuable
       measures of the prevailing professional norms of effective representation, especially as


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       these standards have been adapted to deal with the intersection of modern criminal
       prosecutions and immigration law.

Padilla, 130 S.Ct. at 1482 (internal citations omitted).

       In discharging constitutionally effective assistance of counsel, defense counsel has an

obligation to conduct a reasonable investigation into the government's allegations.            While

"reasonably diligent counsel may draw a line when they have good reason to think further

investigation would be a waste," Rompilla, 545 U.S. at 383, counsel clearly has a constitutional

duty "to make reasonable investigations or to make a reasonable decision that makes particular

investigations unnecessary." See Cullen v. Pinholster, 131 S. Ct. 1388, 1406-07, --- U.S. --­

(2011) (emphasis in original).

       In Dugas v. Coplan, 428 F.3d 317 (l st Cir. 2005), the defendant challenged a state court

conviction based on ineffective assistance of counsel, in particular defense counsel's failure to

adequately investigate a "not arson" defense. The First Circuit concluded that counsel's failure

to reasonably investigate a "not arson" defense constituted ineffective assistance, given "the

importance of challenging the state's arson case to Dugas's defense, the unfulfilled promise to

the jury to do so, the crucial role of the arson evidence to the state's case, [trial counsel] Raimo's

lack of knowledge and experience in arson investigation and arson cases, and Raimo's initial

awareness of problems with the state's case."              Dugas, 428 F.3d at 331 (holding these

circumstances, taken together "demonstrate the inescapable need for expert consultation in this

case"). In reaching its decision, the First Circuit "emphasize]d] that the question is not whether

Raimo should have presented a 'not arson' defense.              Instead, we focus on whether the

investigation supporting his pursuit of the defense was itself reasonable." .Dugas, 428 F.3d at

328, comparing Wiggins v. Smith, 539 U.S. 510, 523 (2003) ("[O]ur principal concern ... is not

whether counsel should have presented a mitigation case. Rather, we focus on whether the


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investigation supporting counsel's decision not to introduce mitigating evidence of [the

defendant's] background was itselfreasonable.") (emphasis in original).

       In United States v. Santiago, 474 F.Supp. 2d 209 (D.Mass. 2007), Judge Ponsor vacated a

state court conviction the government identified in support of an enhancement per 21 V.S.c.

§851, ruling "counsel's decision not to subpoena or even interview crucial, available alibi

witnesses" constituted constitutionally ineffective assistance of counsel. Santiago, 474 F.Supp.

2d at 213. In Santiago, it was determined that the defendant was not in the area of a drug

transaction until minutes before the arrest occurred, and the defendant thus could not have been

the person observed by police conducting drug deals for an hour or so before the arrest occurred.

Judge Ponsor observed that counsel in Santiago "abandoned [his] investigation" of crucial

evidence "after having acquired only rudimentary knowledge," Santiago, 474 F.2d at 213,

quoting Dugas, and held that "[b]ecause Counsel's investigation of the circumstances

surrounding Defendant's arrest was neither thorough nor reasonable, "the presumption of sound

trial strategy founders in this case on the rocks of ignorance." Santiago, 474 F.Supp.2d at 213,

quoting White v. Roper, 416 F.3d 728, 732 (8th Cir. 2005); citing Stewart v. Wolfenbarger, 468

F.3d 338, 356 (6th Cir. 2006) (finding "no strategic purpose in failing to investigate ... a potential

favorable witness"); Rolan v. Vaughn, 445 F.3d 671, 682 (3d Cir. 2006) ("Failure to conduct any

pretrial investigation is objectively unreasonable.").

       While both the government's two briefs and the First Circuit's devastating opinion

reversing my second New Trial Order give numerous and ample descriptions and examples of

Greenberg Traurig's deficiencies and Ineffectiveness of Counsel and overall gross incompetence

in defending me at trial and handling my overall defense, I wish to remind the Court that the

Supreme Court has ruled that Constitutionally, Ineffective Assistance of Counsel can consist of



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merely a "single error on the part of defense counsel" if it is sufficiently egregious. See Murray v

Carrier, 477 U.S. 478, 496 (1986).

       Therefore, before I list the litany of errors that both the government and the First Circuit

pointed out in agonizing detail, and to a certain extent, this Court did as well; I wish to point out

just three issues that EACH mandate this Court granting my §2255 Petition and vacating my

conviction, separate and apart from all of the other errors of Greenberg Traurig to be mentioned

below that cumulatively more than mandate the reversal of my conviction:

        1. Failure to discover, investigate or even get a copy of the February 2008 Iantosca

lawsuit by the Exchangors before my trial in June of 2008, as that lawsuit would have gutted the

government's entire case, exonerated me, and provided ample Brady, Giglio, and Bagley

information to cross-examine the Exchangors and point out their perjury at trial. A copy of the

February 2008 lawsuit is attached here as an Exhibit One;

       2. Failure to immediately and forcefully object to AUSA Mitchell's "THAT'S FRAUD"

comment during closing.

       3. Failure to agree with the government's invitation to file a Rule 33 New Trial Motion

based on newly discovered evidence that has a three year limit on it after the government

suggested doing so in Dkt. No. 359. Greenberg Traurig had an obligation to file a protective

Rule 33 motion during the time period from 2009-2011 and they failed to do so, primarily

because of their conflict of interest with their new-found client Merrill Lynch. This is classic

egregious Ineffective Assistance of Counsel that shows both deficient performance by counsel

and terrible prejudice to me that warrants a reversal of my conviction on that basis alone if for no

other reason. The Supreme Court says that "prejudice" in such a case involving a "conflict of

interest" is presumed. See e.g., Glasser v. United States, 315 U.S. 60, 72 (1942) and Holloway v.



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Arkansas, 435 U.S. 475,484 (1978). See also Chapman v. California, 386 U.S. 18,23 (1967)

that "claims of ineffectiveness assistance of counsel" are never to be treated as harmless error.

        During that same period of 2009 - 20 II, the reason Greenberg Traurig did not file the

protective Rule 33 motion based on the pervasive Exchangor and Merrill perjury and effectively

abandoned me as a client, was because they took on more and more work from Merrill Lynch.

This betrayal and abandonment of a client due to a conflict of interest is also a classic example of

Ineffective Assistance of Counsel that requires a reversal of my conviction. Additionally, the

government briefs in their appeal outline in great detail other Greenberg Traurig failings such as

their failure to object to:

        I. The instructions on half-truths versus the 50 shades of malice described in United

        States v. Gray, No. 13-1909 (lst Cir. 2015);

        2. Evidence of Paley's marketing materials, which I had nothing to do with and there was

        no proof anyone read those materials adduced at trial;

        3. All three grounds that this Court relied upon to grant me a new trial in the first place;

        4. The continual references to "wealthy man", "risky" investments, cavalier attitude,

        incited the jury's hate and distrust of Wall Street during the financial downturn of 2008;

        5. Bogus warnings of risk by the brokers;

        6. Other prosecutorial misconduct in closing statements in addition to "THAT'S

        FRAUD" comment.

I also want to point out the prejudicial error to me in that Greenberg Traurig did not object to the

following specific items, though I demanded that they do so:

        I. No venue instruction to Jury;

        2. No objection on Venue issue despite my commitment to the issue;



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       3. No request for "duty to disclose" instruction or even more important a "knowledge" of


       a duty to disclose instruction;


       4. Government focus on my "greed" and derogatory statements made about me in


       perjurious hearsay statements which are obviously very prejudicial to me.


       5. They should have asked for a Bill of Particulars to identify the allegedly false


       misrepresentation that I made.


       6. They should have done a motion to dismiss due to a violation of the STA based on the


       December 2011 decision in Huete-Sandoval.


       There are clearly other things that in hindsight that Greenberg Traurig should have done,


such as allowing me to testify as I begged my attorneys to do, but because everyone was anxious

to have the trial over they were confident that the jury would acquit me because the government

had not made its case. Obviously both of those judgments were incorrect and prejudicial to me.

       While it is clear from the First Circuit's November 2013 opinion and several opinions of

this Court that I satisfied both prongs of Strickland because Greenberg Traurig's conduct was

both ineffective and prejudicial to me as the proceedings would have certainly turned out

differently had they merely objected to the egregious prosecutorial misconduct in my case, and

Greenberg Traurig also betrayed and abandoned me in favor of its new- found client Merrill

Lynch; I now need to satisfy only the first prong of Strickland because prejudice is presumed in

the case of a conflict of interest. See, e.g., Cuyler v. Sullivan, 446 U.S. 335,347 (1980),

Holloway v. Arkansas, 435 U.S. 475,484 (1978), and Glasser v. United States, 315 U.S. 60, 72

(1942). Clearly, Greenberg Traurig's slipshod performance and lack of objections was

unprofessional and hurt me dramatically so that the proceedings certainly would have turned out

better for me but for their blatant malpractice. Since they had a serious conflict of interest in



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defending both Merrill Lynch and me at the same time, unbeknownst to me, I now only need to

show deficient performance on behalf of Greenberg Traurig, and both the First Circuit opinions

and this Court's opinions are substantial proof and ample evidence of Greenberg Traurig's

ineffective assistance of counsel.

       For all of the above reasons, it is clear that I was a victim ofIneffective Assistance of

Counsel and was severely prejudiced by it, so that my §2255 Petition should be granted and my

conviction must be vacated.




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   IV.	      MY CONVICTION SHOULD BE VACATED DUE TO GRAND JURY

             MISCONDUCT


       Even a cursory glance at the Grand Jury minutes for my original indictment exposes that

the perjury on the part of the Merrill Lynch employees, Martin Paley, and even the Exchangors

themselves, infected the Grand Jury proceedings in this case thereby depriving me of my Due

Process rights under the Constitution, and the protection from indictment that the Grand Jury

process is meant to provide. My Grand Jury was neither fair nor unbiased. There was only one

witness, and that was Special Agent John D. Caldwell of the FBI, who not only repeated outright

lies and misrepresentations as if they were the gospel truth, he spoke as an expert and as an

authority on investment and business matters that he was clearly not an expert on. AUSA

Pineault did a marvelous job of steering questioning Grand Jurors away from the truth and kept

everyone entertained as over a dozen pages have the word "laughter" after comments made by

AUSA Pineault or Agent Caldwell. While hearsay may be permissible in a Grand Jury setting,

passing off lies and perjury and misstatements of secondhand comments as authoritative first

hand comments is not. For the abuses and prosecutorial misconduct in the Grand Jury

proceedings in this case, my conviction should be vacated and the unlawful Indictment against

me dismissed with prejudice.

          Throughout Agent Caldwell's testimony on January 14,2004 and again in reviewing the

original indictment on February 4,2004, there are numerous spots where Agent Caldwell is

asked what Merrill thought or the Exchangors' thought or what did Paley know at the time. His

answers in this regard were absolutely false and prejudicial to me, because even the government,

and especially AUSA Pineault, knew of both Merrill's and Paley'S involvement in BPETCO in

January and February of2004. They also knew that Agent Caldwell's answers were

categorically false, but they did nothing to correct the hearsay spewing forth from and knowing


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falsehoods told by Agent Caldwell to the Grand Jury. In addition, the Exchangors are never

called Exchangors or Investors; they are only referred to as "victims" who lost large sums of

money because I invested in "naked" stock options, all of which was categorically untrue.

       No one presented the facts that BPETCO successfully completed 119 out of 126 property

exchanges or that I handled over $100 million and did not "misappropriate" even a single dollar

for myself, despite what the indictment says. Instead, AUSA Pineault and Agent Caldwell paint

a picture that money was sent into one account (the Money-In and Money-Out Account), and

then I illegally moved the money to the Investment Account where I lost all of the money.

Agent Caldwell states that I did not have the right to do that despite ALL of the Exchange

Agreements saying that BPETCO could invest the money any way it saw fit, including investing

in stocks, securities, and yes, even stock options. Agent Caldwell also goes on to say that both

BPETCO and I had a "fiduciary" duty to protect the Exchangors' money, which is not only

completely untrue, but is a gross misstatement of the laws under IRC Section 1031 which, as the

Court knows, absolutely prohibits a fiduciary relationship between the Exchangor and a

Qualified Intermediary. Worst of all, AUSA Pineault deceptively hid the litigation between

Merrill Lynch, the Exchangors, and me, that had already resulted in judgements against Merrill

Lynch at that time.

       There are over two dozen major examples of prosecutorial misconduct in my Grand Jury

minutes, each one capable of leading this Court to believe I was unfairly prejudiced and

requiring this Court to reverse my conviction and dismiss the Indictment. For the sake of

brevity, however, I will focus on the misstatements made by Agent Caldwell that the Court

knows now are clearly untrue and demonstrably false, because they are repeating the lies of Gary

Stern, Tom Rasmussen, and of course, Gerry Levine's tried and "false" favorites: Riverboat



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Gambler, irrational Exuberance, what is a million dollars amongst friends, and that they always

thought it was my personal money and not third-party funds. For example, one astute Juror asks

Agent Caldwell if all of this talk is not just self-serving to Merrill Lynch and that Merrill is just

trying to pass off their responsibility for the funds onto me, so he asked in January of 2004 if

there is any litigation between Merrill and me. See Jan. 142004 Transcript at p. 52:

Juror: Is there a legal battle going on between these two?

AUSA Pineault: Are you aware of any lawsuit between Carpenter as a plaintiff and Merrill as a
defendant?

Agent Caldwell: I am not.

        Again, this is in January 2004, and AUSA Pineault knows for a fact that litigation

involving BPETCO, Merrill Lynch, and me started in January of2001 and is still going on to this

very day in 2015. But, in January of 2004, Martin Paley and David Patterson gave affidavits

talking about their involvement with Merrill Lynch, which had been sued by BPETCO and the

Exchangors in 2001 and was found liable in December 2002. AUSA Pineault should have also

known about the litigation because of the files, 54 boxes, and all the Court filings that were given

to him by my counsel in Three Volumes of binders in October and November of2003.

Similarly, on page 55 Agent Caldwell refers to me as a "loose cannon" and on page 54, when

asked about Merrill's fiduciary responsibility, he answered: "All investment companies have a

fiduciary responsibility", obviously inferring that I and BPETCO had a fiduciary duty as well.

        Agent Caldwell treats BPETCO and me as if it were a Ponzi scheme and focuses on the

money being lost, and that the Exchagnors never got their money back. See, e.g., p.32. Also see

p. 33, where when asked what Merrill Lynch had to say, Agent Caldwell responds: "They said

that they did not know that these were third-party funds and they thought that they were

Carpenter's funds." Agent Caldwell refers to Gerry Levine as a "supervisor" at Merrill Lynch


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(pA2). On pA4, Agent Caldwell says Mr. Levine has given sworn testimony about the following


derogatory things regarding me:


"Mr. Carpenter's trading was risky." (pA4)


"What's a million or so among friends?" (pA4)


"Mr. Carpenter displayed irrational exuberance." (pA8)


"Mr. Carpenter had the mentality of a Riverboat Gambler." (pA9)


       As if Agent Caldwell repeating the lies of Paley, Levine, Stem, Rasmussen, and Mitch

Rock like they were the gospel truth, and vouching for their hearsay as if it was a first-hand

account rather than a secondhand hearsay account at best was not bad enough, AUSA Pineault

got into the act and began testifying to the Grand Jury on page 55. AUSA Pineault stereotypes

the Exchangors not as sophisticated businessmen, but rather as "granny's money" that must be

kept safe as opposed to me, who portrayed myself as a "big boy" that could handle the risks and

losses of trading with my own money. This is classic prosecutorial misconduct.

       Then, both AUSA Pineault and Agent Caldwell describe the nature of an escrow account

on page 61 and they both make it clear that I had no right to move the money from the "Money

In-Money Out" account to the Investment Account, which is not just untrue in terms of the

BPETCO Exchange Agreements but the nature of the Property Exchange industry as a whole.

Instead, AUSA Pineault and Agent Caldwell make it appear to the Grand Jurors that the crime

was moving the money from the Escrow Account to the Investment Account. And, when the

Grand Jurors ask if Merrill or PaineWebber knew if this was third party funds, Agent Caldwell

gives yet another absolutely false answer: "I don't know anything to the contrary, but the people

at PaineWebber and Merrill Lynch both say that they thought the funds were in fact funds that

belonged to Daniel Carpenter and his businesses." p.63.



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       This, of course, is untrue and is belied by the fact that Agent Caldwell says on page 79 in

response to a Juror asking if the reason for Merrill shutting me down was because of the losses or

because they found out it was "escrow" money, that "they told me they shut me down in their

testimony because I was taking undue risk with MY OWN MONEY, and they didn't want me as

a client anymore because my investment strategies were wild and speculative." p.79. As the

Court is well aware, everyone now knows that Martin Malia of Merrill Lynch gave the order to

shut down the BPETCO account when they allegedly realized that they could be sued by the

Exchangors because of the losses sustained in the BPETCO account, and that Gary Stern handed

me off to his best friend Mitch Rock, and the rest is history. Merrill Lynch was only worried

about being sued and had no concern for my welfare or me losing my own money.

       Agent Caldwell states that he does not know if Martin Paley knew what was going on,

despite this being January - February 2004 and not January 2001. Agent Caldwell and AUSA

Pineault either knew about the SEC investigations of Merrill and accepted their lies, or they

ignored the investigations. They could not possibly ignore the civil litigation, so Agent Caldwell

and AUSA Pineault deceived and misled the Grand Jurors about that. Moreover, when one

astute Grand Juror asks about the Cahaly transaction with Marty Paley, which is out and out tax

fraud because Cahaly had already received the funds from the sale, the Grand Juror asks: "Mr.

Carpenter thought that couldn't be done." AUSA Pineault then steers the Grand Jury away from

the truth of the Cahaly-Paley fraud by saying: "I am not sure what the question is there." Once

again, this caused laughter from the Grand Jury. See page 96.

       Finally, Agent Caldwell said that he interviewed all of the "victims" several times and

they all lost their money and did not get it back, nor did they give me permission to transfer their

money from the safe escrow account into the risky option trading account. See p.l 09.



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Obviously, with that negative spin on things supported by the lies all sworn to by Paley, Stern,

Levine, Rasmussen, and Rock, as well as the greedy Exchangors, it is amazing that I was not

crucified or burned at the stake. My conviction should be reversed and my Indictment dismissed

for this flagrant prosecutorial misconduct and abuse involving the Grand Jury.




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   V.      THE RULE OF LENITY MANDATES VACATING MY CONVICTION

   The Rule of Lenity dictates that criminal liability not be imposed for otherwise legal acts

done in the ordinary course of business. As the First Circuit stated after my second trial, "[t]he

federal mail fraud statute ... is built upon a single, archaic 204-word sentence which ... has

undergone repeated periods of rapid expansion and contraction." United States v. Urciuoli, 513

F.3d 290, 293 (1 st Cir. 2008). During the period referenced in the Indictment, October 1998

through January 2001, there was no federal or state statute, no federal or state regulation, no

federal or state revenue ruling or advisory opinion, and no federal or state judicial decision,

which prevented a qualified intermediary from investing §1031 funds in stock options. No one

told me ever that I was doing something wrong; certainly no one at Merrill or PaineWebber, but

then Levine said he never would have opened accounts ifhe knew it was "other people's

money," which we now know to be indisputably false and perjurious in all respects.

        Moreover, the privately-negotiated arm's-length agreements between BPETCO and the

Exchangors, where the Exchangors were all represented by professional advisors, did not

prohibit investments in stock options, or any other investments, "risky" or "safe." There is no

possible way that I could have known in 1998-2000 (or at any time for that matter) that the

government eight years after-the-fact would seek to brand me a criminal for doing something

that neither a statute, nor any construction thereof, nor any case, had ever before held was

unlawful or improper in any way. See United States v. Emmons, 410 U.S. 396,411 (1973) ("this

being a criminal statute, it must be strictly construed, and any ambiguity must be resolved in

favor of lenity."); United States v. Santos, 128 S. Ct. 2020, 2025 (2008) ("The rule of lenity

requires ambiguous criminal laws to be interpreted in favor of the defendants subjected to

them.").



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       Because the government did not provide me with fair warning in 1998-2000 that

investing §103 1 funds in stock options was somehow fraudulent or criminal, when such

investments were clearly allowed by the terms of privately-negotiated arm's-length contracts

between sophisticated private parties, the government cannot now seek to brand me a criminal in

2014 and 2015 without violating the Due Process Clause. Consequently, my 2255 petition

should be granted in all respects and my conviction vacated.

       Applying the mail and wire fraud statutes to the facts of this case violates the Rule of

Lenity as well as the Due Process Clause of the Fifth Amendment because the government at no

time provided fair warning to me or anyone else that investing § 1031 funds in stock options or

equities, as expressly allowed by arm's-length contracts negotiated with Exchangors who had

professional advisors, could somehow be considered fraudulent or illegal.

       In McBoyle v. United States, 283 U.S. 25 (1931), Justice Oliver Wendell Holmes

emphasized the fair notice rationale inherent in the Due Process Clause. Such notice must be

provided even if defendants did not actually read the United States Code or the Federal Register

(which would not have helped in this case in any event because no regulations govern how a

qualified intermediary may invest the funds):

       Although it is not likely that a criminal will carefully consider the text of the law before
       he murders or steals, it is reasonable that a fair warning should be given to the world in
       language that the common world will understand, of what the law intends to do if a
       certain line is passed. To make the warning fair, so far as possible the line should be
       clear.

McBoyle at 27 (emphasis added). The Supreme Court reiterated this point fifty years later. See

United States v. Bass, 404 U.S. 336, 348 (1971). The need for fair warning is especially acute in

the context of criminal statutes like mail and wire fraud that mandate the imposition of severe

penal sanctions for the ordinary use of the mails and wires in the ordinary course of otherwise



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legal and non-fraudulent business activities. In my case, there was no "bright-line" warning of

any kind.

       "The criminal law should not be a series of traps for the unwary." United States v.

Hussein, 351 F.3d 9, 13 (1st Cir. 2003). To that end, the Due Process Clause demands that

criminal statutes describe each particular offense with sufficient definiteness to "give a person of

ordinary intelligence fair notice that his contemplated conduct is forbidden." United States v.

Harriss, 347 U.S. 612,617 (1954). "The underlying principle is that no man shall be held

criminally responsible for conduct which he could not reasonably understand to be proscribed."

Id.; see a/so Arthur Andersen LLP v. United States, 544 U.S. 696, 703 (2005):

       "We have traditionally exercised restraint in assessing the reach of a federal criminal
       statute, both out of deference to the prerogatives of Congress ... and out of concern that
       a fair warning should be given to the world in language that the common world will
       understand, of what the law intends to do if a certain line is passed." citing McBoy/e.

The First Circuit in United States v. Yefsky, 994 F.2d 885 (1st Cir. 1993) went on to say that

"finding count of indictment charging defendant with conspiracy to commit engineering fraud by

mails did not provide adequate notice and was therefore defective because it did not specify false

pretenses used." "There are three related manifestations of the fair warning requirement."

United States v. Lanier, 520 U.S. 259, 266 (1997). The two that are applicable here are the rule

of lenity and the unforeseeably expansive interpretation doctrine:

       [T]he canon of strict construction of criminal statutes, or rule of lenity, ensures fair
       warning by so resolving ambiguity in a criminal statute as to apply it only to conduct
       covered .. due process bars courts from applying a novel construction of a criminal
       statute to conduct that neither the statute nor any prior judicial decision has fairly
       disclosed to be within its scope. Id.

       "Under the rule of lenity, grievous ambiguity in a penal statute is resolved in the

defendant's favor." United States v. Councilman, 418 F.3d 67, 83 (1st Cir. 2005). The

unforeseeably expansive interpretation doctrine "principally bars unforeseeable and retroactive


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judicial expansion of narrow and precise statutory language." Councilman, 418 F.3d at 84

(quotations and citations omitted). "In each of these guises, the touchstone is whether the statute,

either standing alone or as construed, made it reasonably clear at the relevant time that the

defendant's conduct was criminal." Lanier, 520 U.S. at 267. Here, the government has provided

no fair warning that investing §1031 funds in stock options constitutes a crime. The Rule of

Lenity and the vagueness doctrine are "devices worked out by the courts to keep the principle of

legality in good repair"; Connally v. General Constr. Co., 269 U.S. 385,391 (1926) (stating that

enforcement of overly vague criminal statutes "violates the first essential of due process of

law"). Lenity's underlying principles necessarily inform the interpretation of penal statutes, and

they promote consistency and fairness in the application of the criminal law.

       Developed in the common law courts in the seventeenth and eighteenth centuries to limit

the harshness of English criminal law, the Rule of Lenity was adopted by the Supreme Court in

1820 in Chief Justice Marshall's oft-cited decision in United States v. Wiltberger, 18 U.S. (5

Wheat.) 76, 95 (1820) (acknowledging that the rule of lenity reflects "the tenderness of the law

for the rights of individuals"). The Rule was endorsed a century later by Justice Holmes in

McBoyle, and the Supreme Court has consistently acknowledged its validity ever since. See,

e.g., United States v. Granderson, 511 U.S. 39, 54 (1994); United States v. Thompson/Ctr. Arms

Co., 504 U.S. 505,518 (1992); Taylor v. United States, 495 U.S. 575, 596 (1990); McNally v.

United States, 483 U.S. 350,359-60 (1987), as recognized in Cleveland v. United States, 531

U.S. 12 (2000); Dowling v. United States, 473 U.S. 207,213-14 (1985); Adamo Wrecking Co. v.

United States, 434 U.S. 275, 284-85 (1978); Rewis v. United States, 401 U.S. 808, 812 (1971);

Ladner v. United States, 358 U.S. 169, 177-78 (1958); Bell v. United States, 349 U.S. 81, 83

(1955); United States v. Universal CIT Credit Corp., 344 U.S. 218, 221-22 (1952).



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       The Rule of Lenity is founded on "two policies that have long been part of our tradition":

(i) provision of notice to the public, and (ii) separation of powers between the legislature and

judiciary. Bass, 404 U.S. at 348. As the Supreme Court explained:

       [The rule of lenity] reflects not merely a convenient maxim of statutory construction.
       Rather, it is rooted in fundamental principles of due process which mandate that no
       individual be forced to speculate, at peril of indictment, whether his conduct is
       prohibited. Dunn v. United States, 442 U.S. 100, 112 (1979).

The Rule of Lenity also serves as a key mechanism in preserving the separation of powers

between Congress and the Judiciary. The Supreme Court elaborated upon this principle in Bass.

"[A]s we have recently reaffirmed, ambiguity concerning the ambit of criminal statutes should be

resolved in favor oflenity." Bass, 404 U.S. at 347 (citing Rewis, 401 U.S. at 812); Ladner v.

United States, 358 U.S. 169, 177 (1958); Bell v. United States, 349 U.S. 81 (1955». The

Supreme Court went on to state:

       [B]ecause of the seriousness of criminal penalties, and because criminal punishment
       usually represents the moral condemnation of the community, legislatures and not courts
       should define criminal activity. This policy embodies "the instinctive distastes against
       men languishing in prison unless the lawmaker has clearly said they should." Bass, 404
       U.S. at 348. Thus, where there is ambiguity in a criminal statute, doubts are resolved in
       favor of the defendant. More importantly, before the government can deprive a citizen of
       his liberty for conducting himself in the ordinary course of business and doing normally
       noncriminal acts in the ordinary course of business, it must be clear that Congress defined
       those specific acts to be criminal.

        Modem cases recognize that the rule of strict construction-now known as the Rule of

Lenity-has three fundamental purposes: "to promote fair notice to those subject to the criminal

laws, to minimize the risk of selective or arbitrary enforcement, and to maintain the proper

balance between Congress, prosecutors, and courts." United States v. Kozminski, 487 U.S. 931,

952 (1988). Each of these purposes is essential to the proper functioning of the criminal justice

system. The first purpose is to ensure fair notice. Warning must be given "to the world in

language that the common world will understand." Bass, 404 U.S. at 348 (quoting McBoy/e, 283


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U.S. at 27). And although it is typically fictitious to assume that wrongdoers read statutes, fair

notice is nevertheless "required in any system oflaw." R.L.C, 503 U.S. at 309 (Scalia, J.,

concurring). Indeed, fair notice is closely tied to the principle of legality itself.

        Two ramifications stem from the need for fair notice. First, a premium is put on the

commonsense meaning of a statute. See, e.g., McBoyle, 283 U.S. at 27. It is inherently unfair to

impose on "the common world" a statutory interpretation that is overly obscure or clever.

Second, a premium is put on the text itself. Judges should not rely on extratextual considerations

to construe an unclear criminal statute against a defendant. "Because construction of a criminal

statute must be guided by the need for fair warning, it is rare that legislative history or statutory

policies will support a construction of a statute broader than that clearly warranted by the text."

Crandon v. United States, 494 U.S. 152,160 (1990). The rule of lenity "preclude[s] our

resolution of [an] ambiguity against petitioner on the basis of general declarations of policy in

the statute and legislative history." Hughey v. United States, 495 U.S. 411,422 (1990).

        Lenity's second purpose is to preserve the separation of powers. See Bass, 404 U.S. at

348. "[B]ecause of the seriousness of criminal penalties, and because criminal punishment

usually represents the moral condemnation of the community, legislatures and not courts should

define criminal activity." Id. "This policy embodies the instinctive distaste against men

languishing in prison unless the lawmaker has clearly said they should." Id. (citation omitted).

"It is beyond our province to rescue Congress from its drafting errors, and to provide for what we

might think, perhaps along with some Members of Congress, is the preferred result ... This

admonition takes on a particular importance when the Court construes criminal laws." United

States v. Granderson, 511 U.S. 39, 68-69 (1994) (Kennedy, J., concurring) (citations omitted).




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Lenity prevents the imposition of punishments that are not clearly authorized by Congress, the

only branch of government competent to establish criminal penalties.

       Lenity's third purpose is to avoid arbitrariness and inconsistency in the enforcement of

criminal statutes. See Kozminski, 487 U.S. at 952. The rule of lenity responds to this need by

"fostering uniformity in the interpretation of criminal statutes." Bryan v. United States, 524 U.S.

184, 205 (1998) (Scalia, 1., dissenting). It fosters uniformity because, in each case of criminal

statutory interpretation, it requires courts to examine the text for ambiguity and to resolve any

such ambiguity in the same direction. Faithfully applied, the rule of lenity prevents the

government from punishing individuals based on an innovative or ambiguous reading of the

criminal code as was clearly done here in my case, where even at this late date there has been no

proof of any misrepresentations, false statements, and certainly no material misrepresentations in

the signed agreements. Because I had no fair warning that anything that I did was illegal, and no

one at Merrill or Paine Webber told me anything that I was doing was illegal, Your Honor should

grant my 2255 Petition and vacate my conviction because there never was any "bright line" that

I crossed knowingly violating the law.




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   VI.      THERE WAS NO INTENDED OR ACTUAL LOSS IN THIS CASE

         I also respectfully implore the Court to grant the 2255 petition based on both Supreme

Court and other appellate court precedents where the amount of loss caused by the stock market

crash took me from a Guideline Level Sentence of 6-10 and probation, up to Level of 24 (14 just

for the amount of loss), and the Court's imposed sentence of 36 months. This is unfair for at

least two reasons.

         First, the Court knows full well that before the start of my second trial, the Exchangors

had been paid back over $12.5 million by me and BPETCO. Therefore, as an undisputed matter

of law and fact, the Exchangors had no loss due to fraud as of May 2008. The government

petitioned the Court to keep the knowledge of the payback from the jury, and even as early as

Docket 29, the government claimed whether my trading strategy resulted in gains or losses was

"irrelevant." Now the reason I must be incarcerated is simply because of the bad luck of the

historic Market crash of April-December 2000. Now that it has taken the NASDAQ 15 years to

get back to the 5000 level of the year 2000, that gives testimony to the fact that the NASDAQ

crash of December 2000 is still the worst in U.S. history. Therefore, the market losses should

not cause me to stay in prison when, had the market been better, I would have had probation or

no losses at all. See Trial Exhibit 284 showing $14 million gain in January 2001 had not

Paine Webber swept the accounts.

         Second, in several cases from around the country, various appellate courts have

recognized the unfairness of using the amount of loss to determine jail time based on the

Supreme Court's decision in Dura Pharmecuticals v. Broudo, 544 U.S. 336 (2005). Particularly

on point is United States v. Rutkoske, 506 F.3d 170 (2d Cir. 2007), where Rutkoske's conviction

was upheld for securities fraud, but his sentence was vacated because most of his "loss" was



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caused by the cataclysmic decline of the stock market, just as was true with me. Moreover,

where Mr. Rutkoske did not have more than three appellate arguments, I have more than a dozen

meritorious arguments to overturn and vacate my conviction, much less reduce my sentence.

       In fact, in United States v. Pike, 473 F.3d 1053, 1057-58 (9th Cir. 2007), the Ninth

Circuit found it to be plain error to apply heightened standard to a 5-level adjustment for loss

without first considering the "totality of circumstances." See, also, Rutkoske, 506 F.3d at 180 ("a

fraud disclosed just as the dot-com bubble burst might cause most, but not necessarily all, of the

decline in previously high-flying technology stocks"); Emergent Capital Inv. Mgmt., LLC v.

Stonepath Group, Inc., 343 F.3d 189, 197 (2d Cir. 2003) (where "loss was caused by an

intervening event, like a general fall in the price of Internet stocks, the chain of causation will not

have been established").

       The fact that the seven exchangors lost over $8 million clearly overstates my culpability

in this case. The Guidelines, even pre-Booker, require a downward departure when conduct that

is the basis of the conviction fails to match the heartland model for the fraud guideline. "The

notion in the fraud guideline that the loss table may under- or overstate the seriousness of the

offense is little more than another way of saying that departure from the loss table may be

warranted for good cause." United States v. Brennick, 134 F.3d 10, 15 (l st Cir.1998) (court

remands for findings but adopts general principle that a defendant who never intended to

permanently steal the government's money can be sentenced differently than someone who did

in a tax fraud case). See also United States v. Monaco, 23 F.3d 793 (3d Cir. 1994) (explaining

that loss overstates seriousness where defendant had no intent to steal).

        Moreover, in this case, it cannot seriously be argued that the loss was caused by

extraneous forces. My investments in stock options generated sufficient funds to repay 119 of



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126 exchangors their entire principal and either 3% or 6% interest. After more than one year of

operation, BPETCQ's investments generated a net profit of over $600,000, which remained in

the corporate accounts, as opposed to merely being taken by me as profit. Clearly, the losses of

2000 resulted from a combination of economic and political forces far beyond my control and, in

fact, beyond the predictions or foreseeability of most of the financial world's most prominent

and respected experts and advisors. See United States v. Gregorio, 956 F.2d 341 (1st Cir. 1992)

(holding that downward departure is appropriate where degree of loss was caused by downturn in

economy).

       It is worth noting that there is no statute, regulation, case law or contractual provision that

precluded BPETCQ from investing exchangor funds in stock options. Clearly, I had good reason

to believe that my conduct was not only legal, but in full compliance with BPETCQ's

agreements, as Mr. Paley, the avowed §1031 expert, never suggested to me that investing the

funds in stock options was illegal or improper; indeed, Paley endorsed the business concept even

though it is now clear that Paley knew from the beginning about the investment in stock options

and the possibility of losses. Recently, in response to a favorable settlement of investor lawsuits

against Merrill Lynch, a Merrill Lynch executive was quoted in the Wall Street Journal as saying

that investor losses in 2000 were caused by the worst bear market in two generations; not poor

research. The fallout from the stock market calamity of 2000 is still reverberating, and has only

now reached its high of 5000 again. See United States v. Maldonado-Montalvo, 356 F.3d 65, 69

(1st Cir. 2003) (Guidelines "permit a downward departure where the total loss calculation

overstates the seriousness of the offense", and "such a loss overstatement may occur where, inter

alia, any portion of the total loss sustained by the victim is a consequence of factors extraneous

to the defendant s criminal conduct ") (emphasis added); United States v. RostofJ, 53 F.3d 398,



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405 (l st Cir. 1995) (Judge Zobel departed in part because "economic forces not under the control

of, or precipitated by, the defendants, especially the sudden, unforeseen collapse of the New

England real estate market      a collapse that decimated the demand for residential condominiums

increased the magnitude of the losses."). Only seven Exchangors out of 126 failed to successfully

complete their §1031 exchanges due to the largest NASDAQ market decline in history.

Consequently, the harm caused to the Exchangors was the product of the market as much as if

not more than any acts by myself. See United States v. White Buffalo, 10 F.3d 575 (8th Cir.

1993) (discussing §5K2.11 and the "lesser harm" doctrine, resulting in a sentence of three years'

probation, rather than guidelines sentence of 18-24 months).

       My PSR mentions the famous United States v. Olis, 429 F.3d 540, 547 (5th Cir. 2005).

See also the analysis        of the district court considering the sentencing of Brocade

Communications' CEO Gregory Reyes in United States v. Reyes, et al., CR 06-556-CRB (N.D.

Cal.)(CR 737, Order Re: Sentencing dated November 27, 2007 ("Reyes Order")). Moreover, a

recent case from the Sixth Circuit focuses on the Sentencing Guidelines under V.S.S.G. §2B 1.1

that the sentences for economic offenses should be based on the "actual" or "intended" loss;

whichever is greater. See United States v. Snelling, No. 12-4288 (6th Cir. 2014). Since even the

Court stated at sentencing that I always intended to pay back the money and, in fact, did pay it

back or contractually settled with all of the Exchangors, the intended loss must be zero. And,

since it is indisputable that   r paid   back the Exchangors an amount equal to their principal lost,

plus interest and attorney's fees, the "actual" loss in this case was zero as well. Therefore, it was

clearly erroneous for the Court to base my sentence on the $8.6 million loss that took me up 16

levels from a sentence of probation to a sentence of 36 months.




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       In this case, the losses were caused by reasons other than my actions i.e., the stock market

collapse of 2000. Clearly, I pursued investment strategies geared towards making money, not

losing money. Moreover, as articulated in my motion for new trial based on newly discovered

evidence, $2.9 million of the loss suffered in this case was attributable to trading decisions by

PaineWebber after they terminated my trading privileges, as they closed out my positions.

Certainly, comparing the $8 million market loss with an investor doing everything in his power

to make money is not equitable to the paradigm of a $8 million loss where a malevolent

defrauder simply converts investor funds to his own pocket or his own personal benefit, yet the

Guidelines make no distinction between the two.

       Moreover, in Snelling's case, he took in $8.9 million from investors, but paid $3.6

million back to other investors in his "hedge fund" or "Ponzi scheme," depending on your point

of view. The court in Snelling stated that the paying back to other investors must necessarily

reduce his Guideline sentence from 121 to 151 months down to 97 months. Therefore, since the

calculation of loss under the Sentencing Guidelines must take into account the amount of money

that was actually paid back to other investors, it is indisputable that I paid back to other

investors, including the Exchangors, well over $14 million in the year 2000 alone, thereby

reducing my loss under the U.S.S.G. §2B 1.1 to zero. Please see the calculations done for the

Forfeitures aspect of this case showing that I paid back the Exchangors many times more than

what was lost under the analysis in Snelling. That being the case, at the very least, my sentence

should be commuted to time served and my probation time eradicated, if my conviction is not

vacated entirely.

       The government suggests in its opposition to my Motion for Reconsideration of this

Court's forfeiture order that somehow the numbers submitted in Defense Exhibits #258 and #259



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are not legitimate representations of the amounts paid back to the Exchangors as amounts that

would reduce the amount that I could possibly owe in forfeitures simply because they were not

submitted as trial exhibits.   In fact, as can be seen from the attached Exhibits to this brief,

Defense Exhibits #258 and #259 match up with Government Exhibit 189 from the 2008 Trial

and Government Exhibit 169 (and others) from the 2005 Trial.

       Significantly, all of these numbers and spreadsheets can be traced back to documents

provided to the government on multiple occasions, including documents with Government Bates

Stamp numbers on them provided to AUSA Pineault in a letter from Attorney Jeffrey Denner,

who represented Martin Paley and who hired a private detective, Dick Anagnost, to

independently verify the amounts paid back to the Exchangors, which I totaled to be over $45

million. See Exhibit Two. Attached to the Government's Denner-Pineault memo are emails

between Jackie Spielman and Linda Jokinen (now deceased), who did the client amount

spreadsheets for BPETCO.         These emails match exactly the same emails contained in

Government Exhibit 189 from the 2008 Trial and Government Exhibit 169 from the 2005 Trial.

These spreadsheets were done by Ms. Jokinen and Ms. Spielman in the ordinary course of

business. I did not prepare any of these original source spreadsheets. Most importantly, the list

of original source payments to the Exchangors from Merrill Lynch and then Paine Webber in the

latter half of 2000 and early 200 1 totals more than $19 million, thus no restitution and forfeitures

are appropriate in this case, and my sentence should be commuted to time served if not vacated

altogether.

       Once again, I would respectfully suggest that the analysis in United States v. Hollnagel,

No. 1:10-cr-00195 (N.D. Ill. Sept. 24,2013), is analogous to this case because it was determined

that all of the repayments made to the investors (here, the Exchangors) legitimately reduced the



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amount in forfeitures owed by the defendant. Just as there were no "profits" or forfeitures in

Hollnagel, so, too, there should be no forfeitures assessed in this case because there were no

profits and money was expended to pay back the Exchangors. Moreover, I would respectfully

remind the Court that the BPETCO investigation began in January of2001 when the government

subpoenaed all of the records of BPETCO from Mr. Paley in Boston, me in Simsbury, and, of

course, Paine Webber who complied with the government subpoenas, as well as Merrill Lynch

who did not cooperate with the government subpoenas as was recently established by the

Massachusetts Appellate Court in Cahaly v. Benistar Property Exchange Trust Co., 2014 WL

2523192 (Mass. App. June 6, 2014). But, suffice it to say, AUSA Pineault and the government

were given numerous copies of all of the wires and checks sent to the Exchangors because I

wanted to prove that I was open and up front with Merrill, so that each of the Merrill wire

transfer forms has the word "CLIENT" listed prominently at the top of each page. See Exhibit

Three. Just the Merrill payments from July 31, 2000 to October 20, 2000 when the accounts

were moved to PaineWebber, total over $6 million. See Exhibit Four. When this is added to the

checks and wires from Paine Webber, the total amount paid back to the Exchangors is over $19

million.

       Finally, I would like to respectfully submit to the Court that forfeitures are not

appropriate for this case because the forfeitures section was struck from the Indictment after the

first trial in 2005. Please see Dkt. No. 155. Moreover, the law that created forfeitures in "White­

Collar" cases was not passed until September of 2000, and the "marketing- material" that was

allegedly deemed "fraudulent" in this case was not created by me but rather created by Marty

Paley in 1996 even before I met the man or became involved in the property exchange business.

The procedure for forfeitures is very clear, the Court is to retain the same jury that decides guilt



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or mnocence, and that was not done in this case.         Furthermore, there was no discussion of

forfeitures after either trial in 2005 or 2008, nor can the government make the "forfeitures

section" magically reappear in 2014 after it was struck from the Indictment nine years earlier in

2005. In a similar vein, the government said at the beginning of this case in Dkt. No. 29 that this

case was not about the losses sustained. It now appears that is exactly what the case is all about.

For that reason, that the case is all about "losses" rather than "profits" as the cases like Hollnagel

focus upon when considering forfeitures, I would respectfully suggest that this case does not

meet the standard for forfeitures as described in the First Circuit's decision in United States v.

Heideman, 402 F.3d 200, 223 (1st Cir. 2005):

       (1)    Whether the defendant falls into the class of persons at whom the criminal statute
       was principally directed; (2) other penalties authorized by the legislature (or the
       Sentencing Commission); and (3) the harm caused by the defendant.

       Just using the Heideman three-part test, it is clear that this is an onerous "fine" 140 times

what the real fine was and totally disproportionate to my culpability. The Exchangors have

already been paid back many times over their losses, and I can show BPETCO paying out $45

million in costs and expenses, and, of course, there are no illicit "profits" or proceeds in this

case. A forfeiture of over $14 million rather than a fine of $100,000, as well as $300,000 in

restitution is grossly disproportionate to the gravity of the offense under Heideman and United

States v. Bajakajian, 524 U.S. 321 (1998). The holding in Bajakajian has been codified and

extended to all civil forfeiture cases by 18 U.S.C. §983(g). For all of the above reasons, my

conviction should be vacated or at the very least my sentence commuted to time served and all

fines, restitution, forfeitures, and supervised release eliminated.




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   VII.	   CRIMINAL LIABILITY FOR OMISSIONS AND HALF-TRUTHS CANNOT
           EXIST ABSENT A DUTY TO DISCLOSE

       "Absent a duty to disclose, silence is not fraudulent or 'misleading' ...." United States v.

Schiff, 602 F.3d 152, 162 (3d Cir. 2010), citing Basic, Inc. v. Levinson, 485 U.S. 224, 239

(1988). "When an allegation of fraud is based upon nondisclosure, there can be no fraud absent

a duty to speak." Chiarella v. United States, 445 U.S. 222, 235 (1980). "The proposition that

silence, absent a duty to disclose, cannot be actionably misleading, is a fixture in federal

securities law." Shaw v. Digital Equipment Corp., 82 F.3d 1194, 1202 (1st Cir. 1996). "A

failure to disclose material information is actionable only when the defendant had an affirmative

duty to disclose these facts." Castellano v. Young & Rubicam, Inc., 257 F.3d 171, 178 (2d Cir.

2001). "An act cannot be deceptive ... where the actor has no duty to disclose." Regents ofUniv.,

Cal. v. Credit Suisse First Boston, 482 F.3d 372, 386 (5th Cir. 2007). "For omissions to

constitute securities fraud, a defendant must have had a duty to disclose material facts." Muller-

Paisner v. TheAA, 446 F. Supp. 2d 221,228 (S.D.N.Y. 2006).

        The indictment charges that the Exchangors "were induced to wire funds to BPE based

on material, false written and oral assurances that the money would be protected and held safe."

Indictment ~ 27. At trial, however, there was no evidence of oral or written affirmative

misrepresentations as alleged in the indictment, but instead evidence only that I failed to inform

the Exchangors (either orally or in writing) how I was investing the funds. Even assuming that

the evidence at trial, viewed in the light most favorable to the verdict, established (as in the first

trial) that there was an "omission" to clarify the half-truths regarding the types of investments

that BPE would utilize, see Carpenter, 405 F. Supp. 2d at 92, the indictment does not allege and

the government did not adduce any evidence at trial that I had a legal duty to disclose how I was

investing the funds. "A defendant's failure to disclose information, without more, cannot make


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out a violation of the mail and wire fraud statutes." Sanchezv. Triple-S Management, Corp., 492

F.3d 1, 10 (l st Cir. 2007). By relying entirely on an "omissions" or "nondisclosure" theory of

liability, but failing to allege and prove a duty to disclose, the government failed to meet its

burden of proof as to an essential element of the crimes charged as a matter of law. More

recently the Third Circuit in United States v. Schiff, 602 F.3d 152 (3d Cir. 2010) discussed the

duty to correct in a criminal securities fraud action, citing its earlier decision in Burlington. The

court stated that "[t]he duty to correct arises when 'a company makes a historical statement that,

at the time made, the company believes to be true, but as revealed by subsequently discovered

information actually was not.", Id. at 170 (emphasis in original) (citing In re Burlington Coat

Factory Sec. Litig., 114 F.3d 1410, 1431 (3d Cir. 1997) (noting that the duty "can also apply to a

certain narrow set of forward-looking statements"). It emphasized that "[t]he key for this duty to

exist is a triggering factual event after the statement is made." Id. Because the government

could not identify such a triggering event, the court rejected the argument that defendants had

any duty to update. The court also noted that "[s]cholars have commented that if a duty to

correct or update is triggered, it should be corrected in a timely fashion and preferably by using

the same medium through which the initial error was disseminated, which in this case would

have been a follow-up analyst call." Id. at 171.

        The issue of liability for omissions and half-truths appears most often in the context of

securities fraud, where defendants are charged with nondisclosure of material facts and such

nondisclosure is deemed to constitute half-truths or otherwise be misleading, fraudulent or

deceptive. This is essentially the government's theory in this case, that through my

nondisclosure of the fact that I was investing the Exchangors' funds in stock options, I engaged

in misleading, deceptive and fraudulent behavior constituting a scheme to defraud. The



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government made it very clear throughout the trial and in its closing and rebuttal arguments that

it sought to convict me under a nondisclosure or omissions theory of fraud. AUSA Mitchell's

questioning of Paley sums up the government's entire theory of the case:

Q: Did any of the materials that you gave to the prospective exchangors say anything about
stock options?

A: No.

Q: Did you tell any of the exchangors what your boss was doing with the money, sir?

A: No.

Q: Did you tell Gail Cahaly or Ron Cahaly about stock options?

A: No.

Q: Did you tell Joe Iantosca about stock options?

A: No.

Q: How about Eliot Snider?

A: No.

Q: How about Byron Darling?

A: No.

Q: What about Brian Fitzgerald, did you tell him?

A: No.

Q: Did anything in those documents say anything about stock options?

A: No, they did not.

Q: So did these people have any idea that their money would be put in stock options? [objection
sustained.]

Q: Mr. Paley, isn't that fraud? [objection sustained]

Q: Mr. Paley, was it wrong not to tell Gail Cahaly that your boss was trading in stock options?
[objection sustained] Tr.11 :64-65, 116 CAUSA Mitchell).


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       The government hammered away on its overarching theme of nondisclosure, omissions,

and concealment in its closing and rebuttal arguments as well:

AUSA Pirozzolo: You just heard the Court tell you that false and fraudulent pretenses
encompasses not only direct statements that are false in their entirety but also statements of half­
truths that are misleading because of what they omit ... Under these circumstances, in this
context the term "invest" in the various documents was misleading because it omitted the highly
material information as to how that money was going to be invested.

Tr.13:54-55 (emphasis added).

*      *        *
AUSA Pirozzolo: Under these circumstances, Mr. Carpenter was not acting at all in good faith
by taking in the money from Mr. Snider, Mr. Fitzgerald, Mr. Iantosca, Mr. Darling, Mrs. Cahaly,
Mr. Bellemore or Mr. Johnston without telling them what Mr. Carpenter was actually doing with
the money and what they were exposed to.

Tr.13:62 (emphasis added).

*       *       *
AUSA Mitchell: Mr. Pirozzolo noted in this way the word "invest" is a half-truth, and it is a
half-truth because what is omitted from the description is significant ... The defendant gave [the
Exchangors] no reason to believe that there was anything else afoot. There was no description,
no notice at all that Mr. Carpenter was about to - - that Mr. Carpenter was using exchangor
money in the options market.

Tr.l3:111-12.

*       *       *
AUSA Mitchell: Who didn't know? Who didn't know about the options strategy? All the
people you heard from who signed these contracts, the furthest thing from their mind, as the
defendant well knew, was that Mr. Carpenter was trading the money in the options market. Mr.
Carpenter told nobody. There was not any indication whatsoever, not a whiff of "options" in any
of those documents. That's not open - - that is not open, that is - - that's not full disclosure in the
slightest way.

Tr.13:113-14 (emphasis added).

*       *       *
AUSA Mitchell: [W]hile Mr. Carpenter was, unbeknownst to them, not any disclosure

whatsoever, trading the money in the options market.

Tr.13:116 (emphasis added).



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       There can be no doubt that the government's entire case was based on omissions,

nondisclosure, concealment, and related half-truths, all of which were argued to have been

misleading and, therefore, fraudulent. This theory is similar to allegations in securities fraud

cases under § IO(b) and Rule 1Ob-5 of the Securities Exchange Act that a defendant failed to

disclose material facts necessary to make "statements made, in light of the circumstances under

which they were made, not misleading." 17 C.F.R. Ch. II § 240.10b-5. However, at no time did

the government allege, and there is not a scintilla of evidence proving, that I had a legal duty to

disclose how I was investing the Exchangors' funds. Consequently, I cannot be held criminally

liable for omissions, nondisclosure, concealment, or half-truths because the universal rule is that

"[sjilence, absent a duty to disclose, is not misleading."   s.E.c.   v. Durgarian, 477 F. Supp. 2d

342, 349 (D. Mass. 2007).

        The same rule also applies with respect to fraud under the common law, upon which the

mail and wire fraud statutes are predicated. See Neder v. United States, 527 U.S. 1,22 (1999).

"A failure to disclose a material fact may also constitute a false or fraudulent misrepresentation if

... [there exists] a specific contractual duty to make such a disclosure." United States v.

Cassiere, 4 F.3d 1006, 1022 (1st Cir. 1993) (wire fraud). I cannot be held criminally liable for

failing to disclose, either orally or in the guise of half-truths contained in written materials, that I

was investing the Exchangors' funds in stock options absent a duty to make such a disclosure.

Yet, liability for nondisclosure, omissions, and concealment is precisely what the government

elicited at trial and argued to the jury.

        The rationale for the rule that liability for nondisclosure of material facts can arise only if

there is a duty to speak stems from the concern that "corporations might otherwise face potential

second-guessing in a subsequent disclosure suit." City ofMonroe Employees v. Bridgestone, 399


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F.3d 651, 669 (6th Cir. 2005) (quotations and citation omitted). This is essentially what has

occurred here. BPETCO completed 119 successful property exchanges, but only the handful of

those exchanges that were unsuccessful at the end were charged by the government as

fraudulent. The government elicited testimony from all of the Exchangors and their

representatives that, had they been told that BPETCO would be investing their funds in stock

options, they would not have done business with BPETCO. See, e.g., Tr.3:122 (Darling). The

government now seeks to second-guess me, eight years (now 15 years) after-the-fact, as to the

wisdom of my investment strategy by claiming that failing to disclose that investment strategy

was misleading and fraudulent, without alleging (let alone proving) that I had a legal duty to

speak about or disclose my investment strategy. Because I was under no express or implied duty

to disclose my investment strategy, the express terms of the agreements giving BPETCO

unfettered "discretion" to "invest" the funds are not magically transformed into misleading half­

truths simply because the Exchangors were not told, and did not even ask, how their funds were

being invested.

       As in securities fraud cases, in the context of concealment of material information from

the federal government in 18 U .S.C. §1001 prosecutions, it is generally held that a duty of

disclosure "does not arise out of thin air." United States v. Dollar, 25 F. Supp. 2d 1320, 1326

(N.D. Ala. 1998). It must arise, instead, from a specific request for information, grounded in "a

statute, government regulation, or form." United States v. Calhoun, 97 F.3d 518, 526 (l1th Cir.

1996); accord United States v. herwin, 654 F.2d 671,679 (10th Cir. 1981) (reversing

concealment convictions under Section 1001 because the government did not identify a statute or

regulation that required the disclosure of the required information). Moreover, under elemental

due process principles, the duty to disclose must be clearly expressed. "[T]he touchstone [of due



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process] is whether the statute, either standing alone or as construed, made it reasonably clear at

the relevant time that the defendant's conduct was criminal." Lanier, 520 U.S. at 267. The

defendant must therefore have a fair warning that he is under a duty to disclose specific

information before he may be convicted. See United States v. Larson, 796 F.2d 244, 247 (8th

Cir. 1986) (holding defendant's "due process rights were violated when criminal sanctions were

imposed against him because he had no fair warning that his conduct was illegal.").

       In this case, 26 U.S.C. §1031 provides no requirement that a qualified intermediary

disclose the manner in which it invests its clients' funds. Nor can any such requirement be

limned from 26 C.F.R. § 1.1031(k)-I. The only "forms" in this case, the various written

agreements between BPETCO and the Exchangors, contain no requirements or references to the

manner in which the funds would be held and invested (other than an Exchangor's receipt of 3%

or 6% based upon his/her selection). Nor has any federal or state court opined on the issue.

Instead, the government, especially in its closing, predicated my putative duty to disclose on a

loose amalgam of hortatory "common sense" principles, none of which establish a duty at all,

much less with sufficient specificity to satisfy due process in a criminal case. "If the government

wish to impose a duty on [§ 1031 qualified intermediaries to disclose the manner of their

investments], let it require so in plain language. It should not attempt to impose such a duty by

implication, expecting that the courts will stretch statutory construction past the breaking point to

accommodate the government's interpretation." United States v. Anzalone, 766 F.2d 676, 682

(1st Cir. 1985). See also United States v. Sa/avian, 2008 WL 2415911, *5 (D.C. Cir. June 17,

2008) ("there must be a legal duty to disclose in order for there to be a concealment offense in

violation of § 1001(a)(1), yet the government failed to identify a legal disclosure duty except by

reference to vague standards of conduct for government employees.").



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       Making this case far worse than the typical concealment issue in a § 100 1 prosecution is

the undisputed fact that neither Paley, nor BPETCO, nor I, were ever asked to make any

disclosures regarding the kinds of investments that would be utilized-s-even by Attorney David

Patterson, Tr.12:81 (Patterson)-the only Exchangor or Exchangor's representative with whom I

communicated prior to the Exchangor signing the agreements with BPETCO.           None of the

Exchangors or their representatives testified that they asked Paley how the funds were being

invested, and Paley specifically testified that he never told them how the funds were being

invested (much less Carpenter, who they did not even know). Needless to say, no request was

ever made of me to disclose my investment strategy. See United States v. Woodward, 469 U.S.

105, 108 (1985) (per curiam) (holding defendant has no duty to disclose information about which

he is never asked). Not even in Marjorie Adams' alleged July 2000 telephone call with me did

she ask how (or whether) the funds were being invested.

       The government's theory of the crime essentially requires, without administrative

rulemaking by any federal agency, that § 1031 qualified intermediaries provide investment

disclosures to clients who do not request them, and to suffer criminal liability merely for not

expressly stating in an arm's-length contract the types of investments that can be made with

client funds. Perhaps these are worthy objectives by which the Treasury Department or the

Federal Trade Commission might seek to regulate the §1031 industry in the future, but no such

regulations existed in the 1998-2000 period and no such regulations exist today. The

government cannot resort to the criminal law to engage in ex post facto economic regulation.

       Specificity in this area is particularly required when the government seeks to prosecute a

nondisclosure case under the mail and wire fraud statutes because "[t]he federal mail fraud

statute ... is built upon a single, archaic 204-word sentence which ... has undergone repeated



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periods of rapid expansion and contraction." United States v. Urciuoli, 513 F.3d 290, 293 (l st

Cir. 2008). It is one thing to charge a defendant with making affirmative misrepresentations and

then to introduce evidence only of omissions, but it is an entirely different matter to convict a

defendant of omissions and half-truths (silence) without proving that he had a legal duty to

speak. The government cannot be allowed to exploit the ambiguity inherent in the mail and wire

fraud statutes to convict a defendant of silence when no proof was offered that I had an explicit

or implicit duty to speak.

       Because of the government's failure to allege, let alone prove beyond a reasonable doubt,

that I had a legal duty to disclose my investment strategy (i.e., options investing), I cannot be

held criminally liable for failing to satisfy a non-existent duty of disclosure. To allow liability in

this case would violate my rights under the Due Process Clause. Therefore, my 2255 petition

should be granted, my conviction vacated, and my indictment dismissed.




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   VIII.	 AT MINIMUM THERE WAS A PREJUDICIAL VARIANCE OF THE
          INDICTMENT

       I successfully completed 119 out of 126 property exchanges and handled over $100

million in accounts without taking a penny for myself. I did not induce anyone, fraudulently or

otherwise, to give their money to BPETCO, nor did I "misappropriate" any funds as claimed by

the Superseding Indictment in Paragraph 25. Superseding Indictment (Doc. 34) at 25. The five

exchangors who lost $8.6 million in December 2000, in what is still the worst market crash of all

time, have now received more than $50 million in damages, including over $15 million from me

and BPETCO.

       The variance here, if not fully a constructive amendment to the Indictment, was

manifestly prejudicial to me as it denied me the fair notice of the charges against me guaranteed

by the Sixth Amendment, see, e.g., Russell v. United States, 369 U.S. 749 (1962), and raises the

very real specter that the jury may have convicted me on a legally insufficient ground, requiring

reversal under Yates v. United States, 354 U.S. 298 (1957).

       Among the most fundamental guarantees of the Fifth and Sixth Amendments is the

defendant's right to fair notice of the charges against which he must defend. See, e.g., Russell v.

United States, 369 U.S. 749, 763-64 (1962), and that fundamental right was transgressed here by

the government's shift of its theory of criminality to include one predicated on omissions, against

which I had no notice that I should prepare to defend. The government's reliance on an

omissions theory created the real likelihood that I was convicted based on a theory of mail/wire

fraud which was neither charged nor properly submitted to the jury for its consideration. The

Court rejected my constructive amendment and variance arguments, concluding that the

omissions theory was encompassed within the allegations of the Indictment, despite the fact that

nowhere to be found in the allegations of the Indictment are the words "half-truths," "omissions,"


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"duty," or "fiduciary." While I contend that this Court's decision was erroneous, to the extent

that the Court's analysis supports the denial of my motions, it underscores the gravity of the

prejudice to me from being prosecuted on a theory regarding which the jury was not instructed

and appears nowhere in the Indictment.

       If an omissions theory was properly charged in the Indictment, which it clearly was not,

then two essential elements of fraud by omission were completely omitted from the instructions

to the jury, to my deep prejudice. Additionally, if an omissions theory was not properly charged

in the indictment, the government's repeated emphasis on an omissions theory constituted a

constructive amendment of the indictment or, at minimum, prejudicial variance. See Dkt. 312,

404. "A constructive amendment occurs when the charging terms of the indictment are altered,

either literally or in effect, by prosecution or court after the grand jury has last passed upon

them." United States v. Celestin, 612 F.3d 14, 24 (1st Cir. 2010). "[A] court cannot permit a

defendant to be tried on charges that are not made in the indictment against him." United States

v. Rodriguez-Rodriguez, 663 F.3d 53, 58 (lst Cir. 2012), quoting Stirone v. United States, 361

U.S. 212, 217 (1960). Alternatively, the shift in theory constituted a prejudicial variance, which

occurs "when the charging terms remain unchanged but when the facts at trial are different from

those alleged in the indictment." Rodriguez-Rodriguez, 663 F.3d at 58, quoting United States v.

Fornia-Castillo, 408 F.3d 52, 66 (l st Cir. 2005).

       A variance requires reversal of a conviction when it "affect[ed] the defendant's

substantial rights." United States v. Diaz-Arias, 717 F.3d 1, 20 (lst Cir. 2013), i.e., "cause[d]

unfair prejudice." United States v. Dellosantos, 649 F.3d 109, 116 (lst Cir. 2011). A variance

affects the defendant's substantial rights where he "receive[d] inadequate notice of the charge

against him and thus [was] taken by surprise at trial." Dellosantos, 649 F.3d at 125, quoting



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United States v. Wihbey, 75 F.3d 761,774 (1st Cir. 1996). The indictment in this case charged a

scheme to defraud predicated on affirmative written and oral false statements and only on

affirmatively false statements. The indictment provided me with no notice that, in addition to

fraud charge based on alleged affirmatively false statements, I would also be required to defend

at the second trial on a fraud charged based on my omissions to disclose my strategy and its

history. That shift had critical ramifications for the fairness of my trial. At this late date the

government     has   not   produced    even    a single    false   statement and      actual   material

misrepresentations made by me to anyone.

       While Paley, Levine, Stern, Rusmussen, Rock, and even the Exchangor witnesses all

constituted outright perjury at both of my trials, it is me that is sitting in prison, and I am the only

person that has not told a lie or made a misrepresentation during this 15 year period, and that

includes the government prosecutors.       Critically, the government's reliance on an omissions

theory at trial creates the real likelihood that I was convicted based on a theory of mail/wire

fraud which was neither charged nor properly submitted to the jury for its consideration. Silence

provides a permissible basis for a finding of criminal fraud only where there was an independent

duty to disclose. See, e.g., United States v. Steffen, 687 F.3d 1104, 1116 (8th Cir. 2012); United

States v. Cassiere,4 F.3d 1006, 1022 (lst Cir. 1993); United States v. Dowling, 739 F.2d 1445,

1449 (9th Cir. 1984), rev 'd on other grounds, 473 U.S. 207 (1985). Here, such a duty was neither

charged nor proven, and the jury was not instructed that it could not convict me based on

omissions unless it found that I had an independent duty to disclose the withheld information. In

addition, the jury was also not instructed on another essential element of fraud under an

omissions theory, namely, that I knew I had a duty to disclose. See Cassiere, 4 F.3d at 1022

(First Circuit approved the following instruction: "A failure to disclose a material fact may also



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constitute a false or fraudulent misrepresentation if, one, the person was under a general

professional or a specific contractual duty to make such a disclosure; and, two, the person

actually knew such disclosure ought to be made; and, three, the person failed to make such

disclosure with the specific intent to defraud"). Given the government's heavy emphasis on my

failure to disclose that I was investing exchangors' money in stock options, the jury may well

have rested its quick decision to convict me on all counts on a legally non-viable omissions

theory.

          Where, as here, "a jury has been presented with several bases for conviction, one of

which is legally erroneous, and it is impossible to tell which ground the jury convicted upon, the

conviction cannot stand." United States v. Sawyer, 85 F.3d 713, 730-31 (1st Cir. 1996). See, e.g.,

Yates, 354 U.S. at 312("In ... circumstances [where a legally invalid theory has been submitted

to the jury] we think the proper rule to be applied is that which requires a verdict to be set aside

where the verdict is supportable on one ground, but not on another, and it is impossible to tell

which ground the jury selected"); United States v. Fernandez, 722 F.3d 1, 33 (l st Cir. 2013).

Under Yates, reversal is required unless it can be conclusively found that the jury's verdicts in

fact rested upon a legally and factually adequate ground. It cannot be so said here.

          Thus, the variance which occurred in this case was fatally prejudicial to me. Not only

may the jury have based its verdicts on an impermissible ground, but the First Circuit assessed

the propriety of the government's final arguments through the lens of an omissions theory,

adding to the prejudice to me. Because the variance affected my substantial rights, a new trial

should be ordered. Now that this Court once again has jurisdiction of the matter through this

§2255 Motion to Vacate my conviction, I ask that the Court reconsider its denial of that portion

of my Supplemental Motion for a New Trial which related to the government's constructive



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amendment of the indictment based on subsequent developments in the case which convincingly

demonstrate the government's complete switch from the mail/wire fraud predicated on

affirmative false statements charged in the indictment to mail/wire fraud predicated primarily if

not entirely on omissions and nondisclosure.

       The government's briefs on its appeal of the Court's order granting me a new trial, as

well   as   its   oral   argument   before     the    First   Circuit,   relied   exclusively   on   an

omissions/nondisclosures theory of mail/wire fraud (a theory that was adopted by the First

Circuit in its opinion), providing new and potent evidence in support of the constructive

amendment and material variance arguments advanced in my motion. However, as this Court

knows better than anyone, I was originally indicted on the charge of making orally and written

false representations. After Professor Dershowitz pointed out to the Court that those allegedly

false "representations" needed to be "material" in accordance with the Supreme Court's ruling in

Neder v. United States, 527 U.S. 1 (1999), the government then issued a new superseding

indictment in September 2004 that added the word "material" to the words "false representation"

in seven paragraphs.     Yet, at this late date, there is no oral false statement attributed to me

because I never met with any of the Exchangors. Moreover, I never sent anything in writing to

the Exchangors, and even if the government could prove that any of the Exchangors saw Mr.

Paley's PowerPoint presentation upon which the government relies, the intervening Supreme

Court cases of Stoneridge Investment Partners, LLC v. Scientific-Atlanta, Inc., 552 U.S. 148

(2008), and Janus Capital Group, Inc. v. First Derivative Traders, 131 S. Ct. 2296 (2011),

would certainly illustrate that there was no fraud at all in this case, much less material false

representations that would rise to the level of a specific intent to defraud as required for a federal

indictment under the mail and wire fraud statutes.



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   IX.	      THE GOVERNMENT FAILED TO DISPROVE MY GOOD FAITH AT

             TRIAL


       The theory of fraud set forth in the indictment was that I defrauded seven real estate

investors (the "Exchangers") who had entered into agreements with Boston Property Exchange

Trust Co., Inc. ("BPETCO") to hold monies to be used in 26 U.S.C. §1031 property exchanges

through false written or oral misrepresentations about the safety and security of the deposited

funds which, in the government's view, were inconsistent with the investment strategies pursued

by me with Exchangors' funds, and which, with the collapse of the stock market in 2000,

resulted in substantial losses. I contended at all times that no false representations were made,

that I had acted in complete good faith in the belief that I was authorized by the written

agreements with the Exchangors to invest the deposited funds at my discretion, and there was

never any allegation, much less proof, that I ever took, or intended to take, so much as a penny of

funds which the Exchangors entrusted to BPETCO, it being at all times my intent to return the

funds to the Exchangors to complete their exchanges, along with the promised interest. In fact,

BPETCO paid the Exchangors back nearly $15MM on their $8MM loss before the second trial

began in June of 2008. At this late date, neither the government nor this Court has told me

exactly what did I say or write that was a knowingly false written or oral misrepresentation. For

that reason alone this Honorable Court should grant my 2255 Petition.

          The case was a close one, as this Court recognized in describing the evidence as

sufficient, "but not overwhelming." The fairness of the trial, and the jury's ability to fairly

consider my central good faith defense were fatally compromised by a conspiracy by Merrill

Lynch, its attorneys, led by john Snyder of Bingham who attended every day of my hearings in

both of my trials and sat behind the government prosecutors as if he worked in their office, and

its three employee-witnesses to withhold exculpatory documents and testify falsely at my trial in


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a concerted campaign to protect their own economic interests at the expense of my fundamental

right to a fair trial. Only after my trial did the new documents come to light in civil litigation

against Merrill Lynch and additional evidence become available through the depositions of

Merrill Lynch witnesses in those civil proceedings. The newly-available evidence is both

powerfully impeaching of the false testimony of all three Merrill Lynch witnesses and, more

importantly, provides considerable substantive support for my good faith defense. This pattern of

concerted deception by Merrill Lynch and its witnesses also makes this case an unusual one and

one in which, if the indictment is not dismissed on speedy trial grounds and if my convictions are

not reversed for insufficiency of evidence, a new trial is required in the interest of justice so that

I may have an opportunity to present my defenses in a trial process without the taint of

prosecutorial misconduct, and the pernicious perjury and false and misleading testimony of the

broker witnesses, Exchangors, and Paley.

        After trial, I filed a post-trial motion for judgment of acquittal or, alternatively, a new

trial. After a delay of almost three years, this Court denied the motion for judgment of acquittal,

United States v. Carpenter, 808 F.Supp.2d 366, 377-80 (D.Mass. 2011), finding the evidence

sufficient, "but not overwhelming," id. at 380, but again granted a new trial based upon

improprieties in the government's closing arguments.ld. at 380-86. The First Circuit reversed

my new trial order based on Greenberg Traurig's ineffective conduct and their acceptance of the

government's case as one of omissions. United States v. Carpenter, 736 F.3d 619 (l st Cir. 2013).

One of the central foci of my new trial motion was extensive newly-discovered evidence that the

Merrill Lynch witnesses - Stern, Levine, and Rasmussen -lied at trial when they testified that

they did not know the nature of BPETCO's business or that the funds being invested were third­

party funds and that their testimony suggesting that I had actively misled them as to these matters



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was untrue, matters striking to the heart of my primary defense, that I at all times acted in good

faith. This false testimony, well-illustrated by the supporting documents submitted to this Court,

substantially and prejudicially compromised the fairness of my trial and the reliability of the

jury's verdict, yet this Court never actually addressed these critical issues.

       Newly-available evidence which emerged after the conclusion of my second trial

demonstrates that Merrill Lynch and its three employee-witnesses engaged in a concerted cover­

up to protect their own interests which included concealing documents exculpatory to me and

testifying falsely at my trial. That false testimony fatally compromised my right to a fair trial, as

the false testimony of the Merrill Lynch witnesses went to the heart of my good faith defense.

With the new evidence, which is both impeaching and substantive, a jury would probably reach a

very different result and find that the government had not disproven my good faith - a complete

defense to mail/wire fraud charges - beyond a reasonable doubt. A new trial should be ordered in

the interests ofjustice.

        The theory of fraud on which the government relied at trial rested on my omissions to

inform the Exchangors that I was investing their funds in stock options and had begun to incur

substantial losses. A defendant cannot be convicted on an omissions theory of fraud unless the

government proves beyond a reasonable doubt that he had an independent duty to disclose the

information and that he knew that he had such a duty, which the evidence in this case did not

suffice to prove. Moreover, the jury was not instructed regarding the requisites for conviction on

an omissions theory of fraud.

        A central component of the government's case was the testimony of three witnesses who

had worked with me at Merrill Lynch - Stern, Levine, and Rasmussen - who collectively

testified that they were unaware of the nature of BPETCO's § 1031 exchange business and



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unaware that the funds that were being invested were third-party funds, and suggested that the

information provided by me when I opened the accounts misled them into believing that the

funds were my own. The February 2008 Iantosca lawsuit which emerged as new evidence during

civil litigation against Merrill Lynch by certain of the Exchangors now proves what I was unable

to prove at trial: it conclusively demonstrates that these witnesses conspired to testify falsely at

my trial to shield themselves and Merrill Lynch from allegations of wrongdoing and that, from

the outset, I was open and transparent with Merrill Lynch about the nature of BPETCO' s

business and the source of the funds which would be invested. As the evidence stood at trial, the

Merrill Lynch witnesses provided the jury with substantial reason to discredit that defense, which

I was at that time powerless to counteract, on the theory that, if I really believed that my

investments were proper, I would not have led Merrill Lynch to believe that it was my own

money I was investing and would have fully disclosed the nature of BPETCO's business and the

fact that the funds it handled were the escrowed funds of § 1031 exchanges. The new evidence,

however, convincingly demonstrates that Merrill Lynch knew from the outset that I was

investing clients' funds and that I did not mislead those with whom I dealt at Merrill Lynch - a

reality which would powerfully support my ultimate factual defense that I believed in good faith

that I had the discretion to invest the § 1031 funds and that I did not conceal from either my

brokers or BPETCQ's clients my intention to thus generate the interest promised to the

Exchangors and BPETCO's expected profits.

        Two of the major thrusts of the government's examination of the Merrill Lynch witnesses

were to elicit evidence which would lead the jury to believe that I actively concealed from

Merrill Lynch the nature of BPETCQ's business and the funds being invested and evidence that

my investment strategy was so risky, and my losses so great, that Merrill Lynch felt compelled to



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cut off my trading. In fact, the new evidence convincingly shows, I was open and transparent

with Merrill Lynch from the outset, and Stern, Levine, and Rasmussen, along with everyone else

at Merrill knew that BPETCO was a §I 031 intermediary which held and invested clients' funds,

and the Merrill Lynch compliance chief ordered that the account be closed to further trading not

because of my investment strategy or my losses but because Merrill Lynch feared liability to the

clients whose funds had been invested. The testimony of the Merrill Lynch witnesses at trial

seriously - and manifestly unfairly - undermined my defense that I believed in good faith that I

could invest the Exchangors' funds as I did. If I believed that my actions were proper, jurors no

doubt asked themselves, why did I conceal from Merrill Lynch that I was investing third party

funds? The truth is that I did not. The Massachusetts Appellate Court's findings against

Merrill's attorneys Bingham McCutcheon and Bingham attorney John Snyder warrant a new trial

for me on that basis alone.

       The testimony of the Merrill witnesses regarding the riskiness of my trading strategy,

which the new evidence would have substantially undercut, manifestly prejudiced me in the eyes

of the jury, painting a misleading picture, in which all three Merrill witnesses were complicit, of

a man pursuing a reckless investment strategy to enrich myself, heedless of the risk at which I

was placing BPETCO's clients' funds, conduct which the jury would no doubt have considered

inconsistent with my good faith defense. A new trial - one which eliminated the fundamental

unfairness introduced into this trial by Merrill's suppression of evidence and the false testimony

of its witnesses - would paint a considerably more nuanced picture, one which a rational jury

could find consistent with a good faith belief by me that I was permitted to invest the

Exchangors' money as I did. Indeed, given the newly-revealed issues with Levine's testimony, in

addition to the perjury which the government already knew about, the government may well not



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have called Levine as a witness at all and could well not do so at a new trial, thereby eliminating

testimony such as Levine's "riverboat gambler" reference which can only have severely

prejudiced my good faith defense. As it was, the government got in all of Levine's derogatory

statements about me in the closing arguments by attributing them to Rasmussen and Stern.

       Good faith is a complete defense to wire and mail fraud charges, and the government

bears the burden to disprove good faith beyond a reasonable doubt. See, e.g., United States v.

Ca/lipari, 368 F.3d 22, 33 (Ist Cir. 2004), vacated on other grounds, 543 U.S. 1098 (2005);

United States v. Dockray, 943 F.2d 152, 155 (I st Cir. 1991), and this Court so instructed the jury

in this case. In ruling on my acquittal motion, this Court stated that the Patterson evidence "and

other similar circumstantial evidence, could have supported an inference that the defendant acted

in good faith and lacked the specific intent to defraud. But the jury could have determined that

any inference raised by this evidence was disproved by the other evidence from which the

defendant's specific intent to defraud could be inferred." Much of that evidence from which the

jury might have inferred a specific intent to defraud rested on the false and misleading testimony

of the Merrill witnesses. The concerted pattern of false and/or fundamentally misleading

testimony by the Merrill witnesses regarding both the history of my relationship with Merrill and

what I did and did not tell them regarding BPETCO and its funds was seriously detrimental to

the jury's fair consideration of the central component of my defense, my good faith belief in the

propriety of my investments. With the new evidence, which is both impeaching and substantive,

a jury would probably reach a very different result and find that the government had not

disproven my good faith beyond a reasonable doubt. A new trial without the fundamental

unfairness caused by Merrill's obstruction ofjustice should be ordered in the interests ofjustice.




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         Furthermore, in Sanchez v. Triple-S Management Corp., 492 F.3d 1 (2007), the plaintiffs

in a civil RICO case tried to change the mail and wire fraud claims from one of

"misrepresentations" to a claim of "omissions," as the government tries to do in this case. In

Triple-S, the First Circuit upheld the dismissal of the plaintiffs' claims as well as its decision in

Bonilla v. Volvo Car Corp., 150 FJd 62 (l998), that there is no "legal, professional or

contractual duty," nor even a "general obligation" to disclose any negative information without a

legal duty to disclose. The First Circuit went on to reaffirm its decision in Bonilla that

"[w]hether or not this would bring business in the United States to a standstill might be debated;

but it is a change, if it is ever to be made, that should be undertaken by legislatures and not by

courts .... [and], if the disclosure was omitted in good faith, there was no fraud. United States v.

Dockray, 943 F.2d 152,155 (lst Cir.1991) (holding that good faith is an "absolute defense" to

mail and wire fraud)." With these thoughts in mind, the First Circuit in Triple-S also went on to

state:

         A defendant's failure to disclose information, without more, cannot make out a violation
         of the mail and wire fraud statutes .... We nevertheless observed that "[i]t would be a truly
         revolutionary change to make a criminal out of every salesman (assuming the use of the
         mails or telephone) who did not take the initiative to reveal negative information about
         the product and who-a jury might find-secretly harbored in his heart the hope that the
         buyer would never ask."

Therefore, one need only replace the names in Triple-S, and the cases parallel exactly:

         The [government] do[es] not say whether [I] ha[d] a duty to disclose "the actual manner
         in which the [funds] were [invested]" or, ifso, what the source of that duty is; they do not
         say whether the defendant "fail[ed] to disclose" or "conceal[ed]" this information with
         the intent to deceive the plaintiffs. Instead, they proceed on the assumption that
         nondisclosure alone can support mail and wire fraud claims. As we have discussed, that is
         not the law, in this circuit or elsewhere. Id. at 11. (emphasis added).

In addition, the evidence adduced at trial did not suffice to prove that, even if such a new legal

duty of disclosure arose in 2000, that I knew that I had such a new duty which did not exist in



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1998-99. The evidence did not prove that I had the required mens rea for conviction on an

omissions theory. See Cassiere, 4 F.3d at 1022. The offense of fraud requires both a deceptive

act and the knowledge that the act is deceptive. Also with an omissions case there must be a

claim in the indictment that I had a duty to disclose and knew that I had a duty to disclose.

Those words do not exist in the Indictment nor were they proven or even discussed at trial.

Cassiere, 4 F .3d at 1011.

       Because the Government never discussed my Good Faith during the trial, much less

disproved it as required for a guilty verdict, this Court should grant my §2255 Petition, vacate

my conviction and order a judgment of acquittal in my favor.




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  X.	      MY CONVICTION MUST BE VACATED AND THE INDICTMENT
           DISMISSED DUE TO EGREGIOUS PROSECUTORIAL MISCONDUCT AND
           VIOLATION OF THE DOUBLE JEOPARDY CLAUSE OF 18 U.S.c. §3731

         The Supreme Court has stated that prosecutors "must always be faithful to [the]

overriding interest that 'justice shall be done," and "the 'twofold aim" of the law, which is

that "guilt shall not escape nor innocence suffer. ", Berger v. United States, 295 U.S. 78, 88

(1935). The Court has also stated that:

        "[d]ue process is violated where the state has contrived a conviction through the pretense
        of a trial which in truth is but used as a means of depriving a defendant of liberty through a
        deliberate deception of court and jury by the presentation of testimony known to be
        perjured. Such a contrivance by [the government] to procure the conviction and
        imprisonment of a defendant is inconsistent with the rudimentary demands of justice."
        Mooney v. Holohan, 55 S. Ct. 340, 342 (1935).

Furthermore, the Double Jeopardy Clause bars retrial where "bad-faith conduct by judge

or prosecutor threatens the harassment of an accused by successive prosecutions." United

States v. Dinitz, 96 S. Ct. 1075, 1081 (1976) (internal citations omitted).

         Clearly in my case the prosecutors have abandoned their duty in Berger and their

obligations under Napue, and they have reversed Blackstone's proportion and find that it is

better to put 10 innocent men in prison lest one guilty one escape. "The underlying idea [of

the Double Jeopardy Clause], one that is deeply ingrained in at least the Anglo-American

system ofjurisprudence, is that the State with all its resources and power should not be allowed

to make repeated attempts to convict an individual for an alleged offense, thereby subjecting

him to embarrassment, expense and ordeal and compelling him to live in a continuing state

of anxiety and insecurity as well as enhancing the possibility that even though innocent he

may be found guilty." Green v. United States, 78 S. Ct. 221,223 (1957). Fundamentally, then,

the Double Jeopardy Clause protects the defendant's Constitutional interest in being tried in a



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single, fair proceeding before the original tribunal-the right to be free from multiple trials

caused by willful prosecutorial misconduct. When the prosecution perverts that proceeding

through deliberate acts of misconduct to avoid certain acquittal, the Double Jeopardy Clause

bars any further attempt to harass that defendant, and forbids subjecting him to the indignity,

expense, anxiety, and humiliation of another trial. [d.

       To violate the Double Jeopardy Clause the prosecutorial conduct must have resulted

from "intent on the part of the prosecutor to subvert the protections afforded by [that] Clause."

Oregon v. Kennedy, 102 S. Ct. 2083, 2089 (1982); see United States v. Dollar, 25 F. Supp. 2d

1320, 1332 (N.D. Ala. 1998) (unlawfully withheld Brady material, which material directly

contradicted witness testimony, coupled with outrageous government conduct, required

dismissal with prejudice). In Kennedy, the Supreme Court held that if the prosecutor goads the

defense into moving for a mistrial, and the mistrial is granted, the Double Jeopardy Clause

bars a retrial. Kennedy at 2089-90. Such misconduct or overreaching, intended to subvert a

defendant's right to be free of harassment from multiple trials, is a Double Jeopardy violation.

       In United States v. Singleterry, 683 F.2d 122, 123-24 (5th Cir. 1982), the Fifth

Circuit recognized the possibility that prosecutorial misconduct may present a bar to retrial in

situations beyond those considered in Kennedy. Indeed, a number of federal courts have

extended the logic of Kennedy to apply the "Double Jeopardy Clause to protect a defendant

from retrial in some other circumstances where prosecutorial misconduct is undertaken with

the intention of denying the defendant an opportunity to win an acquittal." United States v.

Wallach, 979 F.2d 912, 916 (2d Cir. 1992), cert. denied, 113 S. Ct. 2414 (1993). In Wallach,

the Second Circuit explained that the Double Jeopardy Clause bars retrial where "misconduct of

the prosecutor is undertaken not simply to prevent an acquittal, but to prevent an acquittal

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that the prosecutor believed at the time was likely to occur in the absence of his misconduct."

[d. See United States v. Catton, 130 F.3d 805, 806-7 (7th Cir. 1997) (citing Wallach, and

discussing possibility of Double Jeopardy Clause as bar to calculated prosecutorial misconduct);

Jacob v. Clarke, 52 F.3d 178, 181-82 (8th Cir. 1995) (same); United States v. Gary, 74 F.3d

304, 314-15 (1st Cir. 1996) (following Wallach); see United States v. Morrison, 101 S. Ct.

665 (1981) ("pattern of recurring violations" may warrant imposition of extreme remedy of

dismissal "in order to deter further lawlessness"); United States v. Russell, 93 S. Ct. 1637

(1973) (acknowledging possibility of "situation in which the conduct of law enforcement

agencies is so outrageous that due process principles would absolutely bar the government from

invoking judicial processes to obtain a conviction"); United States v. Singer, 758 F.2d 228,239

n. 15 (8th Cir. 1986) (collecting cases). See also Lockhart v. Nelson, 109 S. Ct. 285,288 n.2

(1988) (bad faith by the prosecutor in the submission and reliance on false (deceptive)

evidence may preclude retrial under force of Double Jeopardy Clause); United States v. Tateo,

84 S. Ct. 1587, 1590 n.3 (1964) (Double Jeopardy may bar retrial where prosecutorial

misconduct is motivated by a "fear that the jury was likely to acquit the accused."); and

see Mooney, 55 S. Ct. at 342.

       Many jurisdictions have also extended the logic of Kennedy to situations where

prosecutorial misconduct is intended to subvert the defendant's Double Jeopardy rights. State

v. Kennedy, 666 P.2d 1316, 1326 (Or. 1983) (Double Jeopardy bars retrial "when improper

official conduct is so prejudicial to the defendant that it cannot be cured by means short of a

mistrial, and ifthe official knows that the conduct is improper and prejudicial and either intends

or is indifferent to the resulting mistrial or reversal"); State v. White, 354 S.E. 2d 324, 329 (N.C.

App. 1987) ("In our view, the better reasoned arguments support the broader test that includes


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bad faith overreaching or harassment aimed at prejudicing the defendant's chances for an

acquittal."), aff'd, 369 S.E. 2d 813 (N.c. 1988); People v. Dawson, 397 N.W. 2d 277,282

(Mich. App. 1986) (Double Jeopardy bars retrial where prosecutor engages in misconduct

calculated to avoid acquittal), aff'd, 427 N.W. 2d 886 (Mich. 1988); Pool v. Superior Court,

677 P. 2d 261, 271-72 (Ariz. 1984) (same; cited             by Dawson); see also Ex Parte

Masonheimer, 220 S.W. 3d 494, 507 (Tex. Crim. App. 2007) (extending Kennedy to

instances where prosecutor knowingly commits misconduct to thwart an acquittal); People v.

Batts, 68 P. 3d 357, 375-81 (Cal. 2003) (approving Wallach; analyzing cases and secondary

sources), cert. denied, 124 S. Ct. 1432 (2004).

        The government prosecutors failed in their most fundamental duties. They abused the

power of the sovereign, the trust of the people, and the Constitution and laws they swore to

uphold and defend. The government egregiously failed to meet its constitutional obligations

under Brady and Giglio. It repeatedly misrepresented to the court that all documents had been

disclosed prior to trial and that I committed fraud and continuously allowed admitted

perjurious testimony during its closing arguments. This is prosecutorial misconduct in its

highest form; conduct in flagrant disregard of the United States Constitution; and conduct

which should be deterred by the strongest sanction available. Under these facts, the court

should use its discretion in characterizing these actions as flagrant prosecutorial misconduct

justifying dismissal. The court should also use its discretion in determining that a retrial -    the

only lesser remedy ever proposed by the government -            would substantially prejudice the

defendant.

       When the court first indicated that it was inclined to grant a new trial, it noted that it was

concerned that any lesser sanction would be like endorsing the AUSA's conduct.         The

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government's tactics on appeal have only reinforced the conclusion that it still has failed to grasp

the severity of the prosecutorial misconduct involved here, as well as the importance of its

constitutionally imposed obligations. Accordingly, this Court should reverse my conviction, and

dismiss the indictment in its entirety. Or, as a lesser remedy, this Court should grant me my new

trial due to the newly-discovered evidence and allow me my first fair trial in the last 15 years

without the taint of prosecutorial misconduct and the pernicious perjury of all of the broker

witnesses, the Exchangors, and Paley.

   XI.	    MY CONVICTION AND SENTENCE MUST BE OVERTURNED, AND THE
           INDICTMENT DISMISSED DUE TO EGREGIOUS PROSECUTORIAL
           VINDICTIVENESS

       There can be no doubt that I was indicted in Connecticut on December 13, 2013, because

my second new trial order had been surprisingly overturned in late November. I have been

fighting the government for 14 years in Boston over the loss of $8 million in the stock market

crash of December 2000. My alleged victims in Boston have now recovered over $50 million in

lawsuits brought by me against Paine Webber and Merrill Lynch; the real villains here.

Surprisingly, the AUSA at my sentencing spent more time talking about a "pending" indictment

that after five years has never materialized in the district of Wisconsin and the new indictment in

Connecticut, which is based on alleged activity that all happened prior to my second trial in

2008, rather than pointing out ANY false statement made by me to anyone. Could it be there

really is no fraud in the Boston case, and only egregious prosecutorial misconduct that was

written about in the September 22, 2010 edition of USA Today and malicious prosecutorial

vindictiveness that is discussed below?

       Additionally, my offices have been raided by the federal government not just once, but

twice. The first raid occurred on April 20, 2010 by the IRS-CID and then on May 26, 2011 by



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the DOL concerning its investigation of the Charter Oak Trust, which is a welfare benefit plan

that insured all of 84 people. In the raid of April 20, 20 I0, the government took over 320 large

boxes of documents, and of that material unlawfully taken, 40 of the boxes involved the Charter

Oak Trust. Despite being ordered by Judge Cavello to return all of the boxes after copying was

completed, only 4 boxes of the 322 have been returned to the respective businesses now five

years after the raid. The government is still holding custody over those boxes at Halloran &

Sage, despite repeated requests to release the boxes. The government even allowed the

Exchangors' counsel to rummage through Grand Jury documents and the boxes at Halloran &

Sage, despite that being against the law to allow private parties to see documents seized by the

government as part of a Grand Jury investigation subpoena. But, the Boston AUSAs have been

working hand in glove with both the attorneys for the Exchangors and the attorneys for Merrill

Lynch for this entire 14 year time period, much to the detriment of my Constitutional rights to a

fair trial and Due Process.

       The second unlawful search and seizure of May 26, 2011 was purportedly all about an

investigation of the Charter Oak Trust and 17 different locations were raided, including offices in

Stamford, Connecticut and once again my beautiful and prestigious office building at 100 Grist

Mill Road in Simsbury, Connecticut. My office is set in a beautiful office park in a peaceful,

bucolic setting that was once the world headquarters for the Ensign-Bickford company. Federal

agents raided the offices in Simsbury and Stamford and stayed there until 4:00 a.m, the next day.

I have now sued the federal agents and the government in two separate actions under the

Honorable Stefan Underhill. As Judge Underhill commented at a recent hearing on the subject:

"there were three times as many federal agents with weapons and Kevlar vests at Grist Mill Road

than there was at the raid that took out Osama bin Laden."



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       As my counsel in Connecticut goes through the "millions of documents" in that case, one

thing becomes clear: federal agents interviewed over 70 witnesses in the summer of2011, and

none of those witnesses from Texas to California even heard of me. These people who allegedly

lied on their insurance applications were not indicted. The brokers that signed and submitted the

allegedly false insurance applications were not indicted. Only I am being brought to trial, when

it is beyond peradventure that I did not speak to any of the insureds, help them fill out an

application, sign the application, or submit the application. If the application is false, it is not

because of me or my company Grist Mill Capital, LLC that provided the funding for the policies

owned by the Charter Oak Trust. Everyone involved believes that the Connecticut indictment is

payback for fighting the government for 14 years in Boston and now suing the government and

federal agents involved for not one but two unlawful commando raids on my office building.

And, even a cursory glance at IRC Section 7608 shows that the IRS agents are not allowed to

brandish weapons during a search and seizure unless Alcohol, Guns, or Drugs are involved. For

all IRS investigations, subpoenas are to be served in the "least intrusive means possible," except

when the government is trying to take revenge on me.

        Now that the government is "piling on" with yet another indictment with even more

bizarre claims, as if the government is trying to criminalize innocent every-day movements of

money, which is not a crime without it "knowingly" being the proceeds of some Specified

Unlawful Activity or crime, the question to be answered is why? All of these applications were

signed and submitted before my second trial in Boston in 2008. The government conducted all

of their interviews in July of2011. Why was there no indictment in 2011? Could it be that I was

found to be the victim of egregious prosecutorial misconduct for a second time as I was granted

my second new trial order on September 1, 2011? The government had a choice: try me again in



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70 days, or put in the placeholder appeal they filed on September 27, 2011. They did not

diligently prosecute their appeal as required under 18 U.S.C. §3731, but since there were all sorts

of allegations of bad conduct swirling around me, it was easy to avoid the fact that everyone lied

at my second trial and the government knew it. But, to no avail, even if the Merrill brokers lied,

that was still "harmless error" and my attorneys did a "great job" in cross-examining all of the

lying witnesses. But, a great cross-examination cannot purge the taint of perjury, nor does it

absolve the government of its obligations under Napue.

       So to review, the government raids my offices in 2010 and 2011, conducts over 70

interviews in the summer of 20 11 but waits until December 13, 2013 to indict me for mail and

wire fraud based on insurance applications that were all filled out before June 2008, when I did

not fill out any application paid for by the Charter Oak Trust and if I knew the policies were

fraudulent, I would know they would have zero value in the marketplace because the policies

could be rescinded by the carrier or voided as a contract in some states for up to six years. Thus,

the government's theory of a crime makes no sense, even assuming arguendo it was a crime to

begin with.

       What does make sense is that the government was out to get me for fighting the

government in Boston for 14 years, and then having the audacity to sue the government not once,

but twice. But after conducting all of those investigations in July of2011 of people that never

heard of me, they had to pause when I won my second new trial order. Then, while conducting

their costly investigation for yet another three years, they saw their opportunity when my new

trial order was overturned on November 25,2013. Coincidence, we think not. This is a classic

case of prosecutorial misconduct and vindictive prosecution as happened to James Tobin with




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prosecutions in Massachusetts and then New Hampshire. I have been hit by adjacent state

prosecutions in Massachusetts and Connecticut.

       It has been over ten years since I was indicted in Boston for making oral and written

misrepresentations concerning the BPETCO 1031 property exchange debacle. Despite the

evidence adduced in not one but two trials that shows I successfully completed 119 out of 126

tax-qualified property exchanges and over $100 million in transactions without any

misappropriation of money for myself, the government has pursued me for mail and wire fraud

despite the fact that my trading strategy might have been successful, and that at this late date, no

one has pointed to or alleged even a single false statement - written or oral - that can be

attributed to me. Without any type of falsehood, there can be no fraud. Without a "knowing"

scheme to defraud, there is no federal crime of mail and wire fraud. There was no evidence of

scienter, mens rea, or a specific intent to defraud (no such words can be found anywhere in the

Indictment), and my so-called alleged "victims" have now made over $50 million from their $8

million investment in the BPETCO property exchange transaction.

       Moreover, there is no "federal issue" here that Attorney General Eric Holder says is a

necessary factor in his May 19,2010 Memorandum to America's AUSA's on deciding whether

or not to prosecute. See Exhibit Five. It obviously has not appeared in either of my two trials in

this Court. It is indisputable that Martin Paley had all contact with the Exchangors and I had

none. Paley settled his $19 million judgment with the Exchangors for $150,000 and gave up his

Fifth Amendment protection to testify about his conversations with Merrill Lynch broker Jerry

Levine, so there is another witness that says Merrill knew the source of the BPETCO funds fro

the beginning. Now that volumes and volumes of new evidence have come out since my secon

trial showing that Merrill Lynch knew from the outset that the BPETCO funds were client funds



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and not my money, and that I was totally transparent in all of my dealings, it is only government

vindictiveness that keeps this prosecution going.

       I have clearly been the victim of both actual vindictive prosecution and the appearance of

prosecutorial vindictiveness. Nowhere in the original indictment does it mention that I met with,

spoke to, or communicated with any of the Exchangors. The superseding indictment (the

"Indictment") only came about after Professor Alan Dershowitz exposed the deficiencies of the

original indictment that the allegedly false - oral and written - misrepresentations lacked the

word "material" as required by Neder v. United States, 527 U.S. 1 (1999), so the government

added the word "material" to seven paragraphs in September 2004. But, no one else was ever

indicted in this case, and it is beyond cavil that I did nothing in Massachusetts. There is not even

a single allegation of causation in Massachusetts, much less the doctrine applied by the Supreme

Court in Morissette v. United States, 342 U.S. 246 (1952), that a crime must be "constituted only

from concurrence of an evil-meaning mind with an evil-doing hand." ld. at 251. The actus reus

must be combined with the mens rea for there to be a crime. In this case, both the "evil act" and

the "evil intent" are missing. Nowhere is there any mens rea in the Indictment or the "specific

intent" to harm someone's property interests or take their money under false pretenses. I only

ran my office in Connecticut and invested BPETCQ's money with Merrill Lynch and

Paine Webber in Manhattan. Thus, the only thing that we arc left with is that for ten years the

government has carried out a program of prosecutorial vindictiveness against me and has

abrogated my rights to a fair trial every step of the way. For that reason alone, my conviction

and sentence must be vacated, and my Indictment must be dismissed.




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A.     LEGAL STANDARD

       "A vindictive prosecution-s-one in which the prosecutor seeks to punish the defendant for

exercising a protected statutory or constitutional right-violates a defendant's Fifth Amendment

right to due process." United States v. Jenkins, 537 F.3d 1,3 (1st Cir. 2008). A defendant may

establish a vindictive prosecution either (1) by producing evidence of actual vindictiveness or (2)

by demonstrating circumstances that reveal a sufficient likelihood of vindictiveness to warrant a

presumption of vindictiveness. United States v. Marrapese, 826 F.2d 145, 147 (1st Cir. 1987)

(citing Goodwin, 457 U.S. at 376). If a defendant raises a presumption of vindictiveness, the

prosecutor may rebut the presumption by showing objective reasons for its charges. Indeed,

courts have long abided the "uncontroversial principle" that "[t]o punish a person because he has

done what the law plainly allows him to do is a due process violation 'of the most basic sort."

United States v. Goodwin, 457 U.S. 368,372 (1982) (quoting Bordenkircher v. Hayes, 434 U.S.

357,363 (1978)).

       While finding no actual due process violation in the plea-bargaining threats of

Bordenkircher, the Supreme Court distinguished its decisions in North Carolina v. Pearce, 395

U.S. 711, 725 (1969) (applying a presumption of vindictiveness where the trial judge, on retrial,

imposed a more severe sentence upon the defendant who successfully attacked his initial

conviction on appeal) and Blackledge v. Perry, 417 U.S. 21,28 (1974) (applying a presumption

of vindictiveness where the prosecutor reindicted -- on a felony charge -- a defendant originally

convicted of a misdemeanor after the defendant successfully exercised his right to appeal the

misdemeanor charge). The Court stressed that, in Pearce and Perry, it was dealing with the

state's unilateral imposition of a penalty upon a defendant who had exercised a legal right to

appeal his original conviction, "a situation very different from the give-and-take negotiation



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common in plea bargaining between the prosecution and defense." Bordenkircher, 434 U.S. at

363 (internal quotation marks and citation omitted). There was no "plea-agreement" in my case,

but there definitely was an agreement to review the newly-discovered Merrill Lynch evidence

coming in and either agree to give me a new trial or to dismiss the charges altogether. See

Agreement of June 26, 2009, Dkt. 352, attached as Exhibit Six.

       Thus, a defendant may be penalized for violating the law, but not punished for exercising

his rights to seek an appeal. See Goodwin, 457 U.S. at 372. "A defendant may establish a

vindictive prosecution either (1) by producing evidence of actual vindictiveness or (2) by

demonstrating circumstances that reveal a sufficient likelihood of vindictiveness to warrant a

presumption of vindictiveness." Jenkins, 537 F.3d at 3. Although I provided an extensive list of

both actual and presumptive vindictiveness, I wish to emphasize the latter. Once raised, the

government must rebut a presumption of vindictiveness "by showing objective reasons for its

charges," such as the discovery of new evidence. /d.; see also United States v. Lanoue, 137 FJd

656, 665 (l st Cir. 1998). Obviously in this case, the discovery of "new evidence" favors my

claims of prosecutoria1 vindictiveness rather than giving the government help in its rebuttal of

the prosecutorial vindictiveness claim.

B.     EXAMPLES OF ACTUAL AND PRESUMPTIVE VINDICTIVENESS

       Therefore, the incidents and examples of vindictive prosecution or at least the facts that

show a case of "presumptive" vindictive prosecution can be summed up as follows:

       1.	 Despite providing the government with three volumes of documents that Merrill
           knew the BPETCO money was client funds, the government indicts only me.

       2.	 The government makes a deal with Jeff Denner - Mr. Paley's attorney - that Mr.
           Paley will not be prosecuted so he can stop taking the Fifth and testify against Merrill
           Lynch on behalf of the Exchangors in January 2004.




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3.	 Mr. Paley clearly perjures himself at my first trial and the government totally ignores
    this Court's rendition of how Paley perjured himself.

4.	 I, against all odds, am victorious against PaineWebber in BPETCO's arbitration
    victory of December 15, 2005.

5.	 In June 2008, I assign the almost $15 million arbitration award plus interest over to
    the Exchangors before my second trial begins. Incredibly, instead of dropping all
    charges against me, the government does several "motions-in-limine" to prevent the
    jury from ever hearing that the Exchangors have been paid back nearly double on
    their $8 million loss.

6.	 Even more incredible is the fact that the government maintained in the most recent
    Pre-Sentencing Report (PSR) that I should be paying back Byron Darling and Brian
    Fitzgerald even though they were paid back before the civil trials began in this
    matter. But the most incredible claim made by the government is that I should pay
    back any money to Paine Webber (now known as UBS), much less the $8,636,650
    that PaineWebber has been reimbursed by Merrill Lynch - see the last page of the
    PSR dated February 11,2014. This one addition demonstrates not only prosecutorial
    vindictiveness, but maliciousness as well, if not outright "shock the conscience"
    prosecutorial misconduct on the part of the government.

7.	 Beginning in 2009 and throughout 2010 and 2011, the government received over
    30,000 pages of documents showing that the Merrill Lynch witnesses interviewed by
    the FBI on 302 Reports and that testified in both of my trials: Levine, Stern, and
    Rasmussen, all lied. Merrill knew from the inception that the BPETCO funds were
    other peoples' money, and they lied about that fact and did not turn over documents
    early on to the SEC, to the Exchangors, or to any of the attorneys on the Carpenter
    defense team. As the Court stated in its September 1, 2011 Order granting me a new
    trial: "Levine perjured himself, and the government knew it."

8.	 The government also ignored its promise in the Joint Status Report filed as Dkt. 352
    that, depending on the newly-discovered evidence from Merrill, the government
    would either dismiss all charges or agree to give me a new trial. This was in the
    summer of2009.

9.	 Voluminous filings followed thereafter, and Merrill Lynch was hit with a $34 million
    judgment from Judge Neel, followed by other orders from Judge Roach for legal fees
    and consequential damages payable to the Exchangors. All told, the Exchangors have
    !!illY been paid over $50 million by me and Merrill Lynch on their $8 million
    investment in BPETCO.

10. When this Court's order came down on September 1, 2011 granting a new trial for
    me, the government had a decision to make: either retry me in 70 days or file the
    "placeholder" appeal that they filed on September 29, 2011. This is after filing an
    appeal on January 9, 2006 after learning of my arbitration victory of December 15,


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   2005 and knowing full well that the prosecutorial misconduct of Carpenter Two was
   even more egregious than the misconduct of Carpenter One.

11. During the two year pendency of the appeal, the prosecution asked for and received
    not one, but two extensions of time despite the requirement of 18 U.S.c. §3731 to
    prosecute all appeals diligently. The government also asked for and received two
    extensions of time on my second appeal to the Supreme Court.

12. Because of the three year interim between the June 2008 trial and the September 2011
    new trial order, I several times wished to have the Court hear my Speedy Trial and
    Sixth Amendment violation arguments. Just as in United States v. Trueber, 238 F.3d
    79 (2001), I asked for a remand from the First Circuit to hear my motions, but the
    government actively opposed those motions, and the First Circuit ultimately denied
    my motion to remand despite the fact that Trueber was successful in getting his case
    remanded back to the district court in the space of two weeks' time. See Trueber at
    96.

13. There is no other case in the history of the First Circuit that I could find that ends with
    the apology at the end of the First Circuit's reversal of my new trial granted under the
    "interest ofjustice" standard:

       "We also regret that it took three years for the district court to rule on the motion
       for new trial."

   See United States v. Carpenter, No. 11-2131 at *27 (1st Cir. Nov. 25, 2013).

14. The government has wasted 14 years of my life prosecuting me for a non-
    crime. Now that the Exchangors have been paid back their investment by a multiple
    of 500%, with interest and attorneys' fees, there is not even a breach of contract case
    here. The only apparent motive for the government to change from a theory of oral
    and written misrepresentations to a case of half-truths to a case of full blown
    omissions is that the government wants to preserve its ill-gotten jury verdict rather
    than see justice be done, despite their sworn oath and the famous admonition "to do
    justice" from Berger v. United States, 295 U.S. 78 (1935).

15. The government will trample over my constitutional rights to a fair trial, due process,
    and several violations of the Sixth Amendment just because I refuse to let go of my
    right to appeal or to seek justice.

16. The government on its own should join with me on a new trial motion, but they won't
    because they know that Stern and Rasmussen, as well as Levine, committed perjury
    so they don't dare put any broker including Mitch (13,000,000 reasons to lie) Rock on
    the stand for fear of violating their duty under Napue v. Illinois, 360 U.S. 264
    (1959). Without the brokers, there will be no derogatory comments about me as a
    "Riverboat Gambler" or "watching grass grow" or "paint dry." The government



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           knows it will not be able to keep me off the witness stand, and the jury will learn that
           the Exchangors have made over $50 million on their $8 million loss.

       17. The government also fears that they will now be forced to choose between what was
           charged in the Indictment - knowingly false misrepresentations - and their new
           theory of the case that I had a duty to tell the Exchangors about my choice of
           investments or the fact that I was losing money. An appeal of a constructively
           amended indictment is the ultimate form of vindictive prosecution.

       18. The government also knows that I did not send out or cause to be sent out any of the
           mailings and wires as Mr. Paley handled all of the business parts of BPETCO, and if
           Paley lied to the Exchangors, it would be a state fraud rather than a federal
           fraud. And clearly none of the mailings or wires were in the "furtherance of the
           scheme to defraud" because there was no scheme to defraud, there was no false
           statement by me, and I had no duty to disclose anything. The government knows all
           of this, so the continued prosecution of me is a clear-cut case of both "actual" and
           "perceived" vindictive prosecution in violation of my Fifth Amendment rights to Due
           Process and a Fair Trial.

C.	    A PRESUMPTION OF PROSECUTORIAL VINDICTIVENESS AGAINST ME
       EXISTS

       In short, my decade-long diary of abuse at the hands of the government presents the

quintessential appearance of vindictiveness. Indeed, the sequence of events alone might well

justify a presumption of vindictiveness; since courts view quite skeptically the government's

decision to file more severe charges following a defendant's successful appeal of his conviction.

See, e.g., Blackledge v. Perry, 417 U.S. 21,28-29 (1974); United States v. Cooper, 461 F.3d 850,

856 (7th Cir. 2006); United States v. Rosenthal, No. CR 02-0053,2007 WL 801647, at *2 (N.D.

Cal. Mar. 14,2007); cf Aviles-Sierra, 576 F. Supp. 2d at 239 n.2 (distinguishing the filing of

additional charges during pre-trial plea negotiations or after a mistrial). But here there was even

more. Starting in 2009 and ending in December 2012 with a huge payout to the Exchangors,

Merrill Lynch provided over 30,000 pages of exculpatory evidence that the government

effectively ignored while it constructively amended its Indictment and kept me in a state of

appellate Purgatory.



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       First, the government has not identified any newly discovered evidence that might justify

its charging decisions. Compare Lanoue, 137 F.3d at 665, with United States v. Wood, 36 F.3d

945,947 (10th Cir. 1994), and United States v. Cafiero, 292 F. Supp. 2d 242, 247-48 (D. Mass.

2003). It possesses the same evidence today as 10 years ago, and could have readily brought

omission charges before superseding indictment, or, most importantly, my appeal. See United

States v. Jenkins, 504 F.3d 694, 700 (9th Cir. 2007); Lovett v. Butterworth, 610 F.2d 1002, 1007

(1st Cir. 1979). Instead, it chose to wait until its arguments of 2013, over five years after the trial

to raise the "omissions" argument. The new Merrill evidence helps me, it does not help the

government.

        Moreover, courts must assess the likelihood of prosecutorial vindictiveness with the

doctrine's "prophylactic" purposes in mind. See Jenkins, 504 F.3d at 700. The vindictive

prosecution doctrine seeks not only to alleviate the accused's apprehension of persecution but

also to prevent the chilling of "the exercise of legal rights by other defendants who must make

their choices under similar circumstances in the future." Id. (citation and internal punctuation

omitted); see also North Carolina v. Pearce, 395 U.S. 711, 724 (1969); Lovett, 610 F.2d at 1006­

07. And the potential for future chill surely exists when the government - in fact, some of the

very same prosecutors - responds to a thwarted, judicially criticized initial prosecution by filing

more severe charges that could have been brought years ago. In sum, a reasonable observer

might well perceive the instant prosecution as the government's punitive attempt at mere "self­

vindication" of the original indictment and trial of me. United States v. Falcon, 347 F.3d 1000,

1004 (7th Cir. 2003) (citation and internal punctuation omitted); see also Rosenthal, 2007 WL

801647, at *3.




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       In conclusion, I have presented both concrete examples and circumstances-including

sequence, the absence of any new factual developments, and exposure to more severe charges­

that "reveal a sufficient likelihood of vindictiveness to warrant a presumption of vindictiveness."

Jenkins, 537 F.3d at 3.

D.     THE TOBIN CASE REQUIRES DISMISSAL OF MY INDICTMENT

       The several trials of James Tobin mirror exactly the Kafkaesque nightmare that I have

been subjected to by the government's obvious malice towards me and their prosecutorial

vindictiveness to secure a "win" at whatever cost. Mr. Tobin appealed his conviction,

challenging a jury instruction and the sufficiency of the evidence. On March 21,2007, the First

Circuit agreed that the challenged instruction was overbroad and prejudicial, vacated the

conviction, and remanded to allow the district court to address a question of statutory

interpretation. See United States v. Tobin, 480 FJd 53, 58, 62 (1st Cir. 2007). Eleven months

later, the district court concluded that 47 U.S.c. §223(a)(I)(D) demands "a specific purpose to

cause emotional upset," and, finding that the government could not satisfy this requirement,

entered a judgment of acquittal on the remanded charges. United States v. Tobin, 545 F. Supp.

2d 189, 193 (D.N.H. 2008).

       While the First Circuit was reviewing Mr. Tobin's appeal of the New Hampshire

prosecution, the same government moved forward with a new indictment against Mr. Tobin in

Maine based on the same set of facts. The District Court in Maine dismissed the case for

prosccutoria1 vindictiveness not as severe as in my prosecution, but the government even

appealed that to the same First Circuit as Mr. Tobin's other appeals. Whereas Mr. Tobin was

sentenced to 10 months and a $10,000 fine, the First Circuit found that, just like me, there was no




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proof that Mr. Tobin had the requisite "evil intent" to commit the crime, which in Tobin's case

was jamming the phones of a political campaign.

       Just as I protected my rights by taking an appeal, so, too, did Mr. Tobin. The result for

Mr. Tobin was brand new charges in a different state, just as I have been indicted in Connecticut

on events that actually all occurred before my second trial in June of 2008. Forget that all of the

new charges are time-barred; the new Connecticut indictment did not happen until the

government successfully overturned my grant of a new trial at the end of November 2013. There

is no question that the AUSA's in Connecticut and Massachusetts have been discussing my case

for the better part of three years. This collusion between the Massachusetts and Connecticut

AUSA's is only the tip of the prosecutorial vindictiveness iceberg.

       In fact, at my sentencing hearing, the government spent a great deal of the time talking

about a four year old threat of indictment for tax evasion from Wisconsin that never materialized,

a civil lawsuit involving a life insurance policy taken out by a person in 2007 that died in May

2008, the Connecticut indictment that involves life insurance policies taken out by a welfare

benefit trust between 2006 and 2008, and threats made by one of my attorneys during a back­

and-forth with the Exchangors' greedy and duplicitous lawyers in the civil case with the

Exchangors, who have enjoyed a $50 million judicial jackpot at my expense.

       Similar to the government creating new charges against Mr. Tobin based on the same

events; the government attorneys have totally restructured a new indictment that scarcely

resembles the original indictment in my case. Therefore, the government's arguments that my

crime was defrauding insurance carriers and money-laundering is exactly the same change in the

nature of the crime that resulted in Mr. Tobin's dismissal of his indictment. Whereas my ordeal

has been longer and more arduous than Mr. Tobin's ordeal, I respectfully request that my §2255



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Petition be granted, my conviction be overturned, and my Indictment be dismissed on the same

basis as Mr. Tobin's for egregious prosecutorial vindictiveness.

E.	    THE GOVERNMENT'S ACTUAL VINDICTIVENESS IS PROVEN BY HOW IT
       HANDLED THE MERRILL LYNCH EVIDENCE

       Attached as Exhibit Six is the Joint Report Concerning Merrill Lynch Evidence filed over

five years ago with the Court on June 26, 2009, as Docket Entry 352. That status report was

meant to inform the Court that there were literally thousands of new documents streaming into

the government's offices from Merrill Lynch's new attorneys that showed that not only had

Levine lied, but also Stern, Rasmussen, Hassan Tabbah, as well as a dozen other Merrill

executives. They all lied to protect Merrill from an $8 million judgment.

       From the outset of this case, the government had stated that if I could show that Merrill

knew from the beginning that the BPETCO funds were client funds, then I would not be indicted.

Despite me repaying the Exchangors $15 million, almost double what they had lost in BPETCO,

the government proceeded with the second trial in June 2008. The government filed several

motions-in-limine just to keep out the knowledge that the Exchangors had been repaid all $8

million they had lost and more. Regardless that BPETCO won its arbitration against

PaineWebber in December 2005, the government has me "owing" PaineWebber $8 million in its

Pre-Sentencing Report as "restitution," despite the fact that PaineWebber caused the problem by

sweeping the BPETCO accounts in early January 2001.

       Then, as if to add insult to injury, not only has the government been derelict in its duties

under Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United Stales, 405 U.S. 150 (1972), and

United States v. Bagley, 473 U.S. 667, 682 (1985), the government has not reported to anyone

that Merrill paid Paine Webber back the $8 million that it was out and neglected to report to

anyone that Merrill had paid over $30 million to the Exchangors to settle the judgment that the


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Exchangors had against Merrill. None of this has been reported by the government to me or to

the Court as required by Brady, Giglio, and Bagley, but the government has me owing restitution

to PaineWebber? Even after they should know that Merrill paid Paine Webber back in full years

ago? This is in addition to ignoring and not investigating the February 2008 Iantosca lawsuit

discussed above.

       Rather than going after Mr. Paley for his perjury in Carpenter One, or after Levine for his

glaring perjury in Carpenter Two, or reporting to the Court that the Exchangors have been paid

over $50 million on their $8 million loss, or acknowledging that Merrill covered PaineWebber's

expenses, the government chose not to live up to their agreement of June 26, 2009 that upon "the

government's review of the evidence, the parties will report whether the government agrees that

a new trial or dismissal of the charges is appropriate in light of the new evidence. See Dkt. No.

352.

       That agreement was signed by AUSA Pirozzolo. Instead ofliving up to the terms of that

agreement, the government decided instead to ignore its continuing obligations under Brady,

Giglio, and Bagley, and totally abandon its responsibilities as to false testimony under Napue.

The government also decided to ignore the evidence provided in the two previous cases and

create a new theory of the crime based on "omissions" and a failure to disclose. And when did

they decide to breach their agreement of June 26, 2009 and fabricate a brand new prosecution out

of "omissions"? It was more than two years later when this Court granted my new trial motion.

       The government had a choice during September 2011: it could either live up to the

agreement of June 26, 2009, or bring me to trial in 70 days or file the flimsy and baseless appeal

that it filed in violation of 18 U.S.c. §3731, where it created out of whole cloth an imaginary

duty that I, who had never met with or communicated with any of the Exchangors, was now



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committing fraud based on what I did not tell the Exchangors. This is the ultimate proof of the

government's actual vindictiveness against me, because not only did the government violate its

agreement with me, it had to violate my Fifth and Sixth Amendment rights to do it; just so that

the government could constructively amend the Indictment to keep me in jeopardy and preserve

their unjustifiable guilty verdict.

        The government's vindictiveness is not just "presumptive," it is "actual," it is malicious

and it is a vicious reality for me and my family. The government, the Court and even I know the

law of the First Circuit well. Without having a contractual or fiduciary duty to disclose, the

failure to disclose is not a crime. In United States v. Cassiere, 4 F.3d 1006, 1022 (1st Cir. 1993),

the Court in regards to the duty to disclose stated:

        [I]t is not a crime simply to be careless or sloppy in discharging your duties ....That may
        be malpractice, but it's not a crime.

        It is well settled that breach of a fiduciary duty, standing alone, does not constitute mail
        fraud." United States v. Greenleaf, 692 F.2d 182, 188 (1st Cir.1982), cert. denied, 460
        U.S. 1069 (1983).

(Emphasis added). The Court went on to say that "evidence showing negligence or mistake is

not enough." Id. at 1024.

        Therefore, based on the law of the First Circuit as stated above in Triple S, Bonilla and

Cassiere, and the fact that the government had an obligation to either agree to a new trial for me

based on the newly disclosed Merrill evidence or to dismiss the charges altogether, I respectfully

ask this Court to vacate my conviction and sentence and dismiss the Indictment.

F.      THE GOVERNMENT CANNOT REBUT ITS VINDICTIVENESS

        To rebut adequately a presumption of vindictiveness, the government must demonstrate

"objective reasons for its charges." Id.; see also Goodwin, 457 U.S. at 376 n.8 (requiring

"objective evidence justifying the prosecutor's action."); Rosenthal, 2007 WL 801647, at *2


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(characterizing burden as "heavy"). here, those reasons do not include several that the

government routinely invokes, such as newly discovered evidence or intervening criminal

activity. See Lanoue, 137 F.3d at 665; Aviles-Sierra, 576 F. Supp. 2d at 239; Lovett, 610 F.2d at

1006 n.l O. The government does not and cannot cite any material change in the law of

ormssrons. See United States v. Marrapese, 826 F.2d 145, 149 (lst Cir. 1987); United States v.

Ward, 182 Fed. Appx. 779, 788 (lOth Cir. 2006). Nor does the government claim to have

communicated to me its intent to pursue omissions charges until it filed its Appeal. See

Rosenthal, 2007 WL 801647, at *4. In fact, it never notified me of any such possibility.

       This will not do. The aforementioned "legal infirmities" - previously identified by me

and thus hardly "unforeseen" - were diagnosed by the First Circuit only because I exercised my

right to appeal; the government's explanation justifies nothing. A loss on appeal may occasion

the consideration of new charges, but it cannot justify the government's decision to bring those

charges. To rebut a presumption of vindictiveness, the government must offer more. See Lovett,

610 F.2d at 1006 (suggesting that the government must offer "new facts unrelated to the

appeal").

       In some cases, the government's decision to bring new charges might be perceived as less

vindictive when its initial loss is attributable to a new construction of a statute. But these

circumstances do not warrant such a perception. Moreover, to rigidly interpret the doctrine of

vindictive prosecution more narrowly when a defendant has successfully appealed on novel as

opposed to well-established grounds would discourage defendants from advancing novel

arguments on appeal.

       In conclusion, the government has failed to satisfy its burden of identifying objective

facts that dispel the appearance of vindictiveness. To be sure, courts must tread lightly when



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assessing prosecutorial charging decisions. "Whether to prosecute and what charge to file or

bring before a grand jury are decisions that generally rest in the prosecutor's discretion." United

States v. Batchelder, 442 U.S. 114, 124 (1979). These decisions are necessarily informed by

sensitive judgments about dangerousness, deterrence, and enforcement priorities, which courts

ought not readily second-guess. See United States v. Stokes, 124 F.3d 39, 45 (1st Cir. 1997).

Moreover, too expansive an application of the vindictive prosecution doctrine might create

perverse incentives for prosecutors to bring all plausible charges initially, lest they lose the

opportunity to pursue them. This result would hardly redound to the benefit of defendants.

That said, the vindictive prosecution doctrine imposes critical "constitutional limits" upon the

exercise ofprosecutorial discretion. Lovett, 610 F.2d at 1005 (quoting Bordenkircher, 434 U.S.

at 365). Those limits protect all current and future criminal defendants, including those whose

conduct may be properly described as "insidious" or "thoroughly bad." Tobin, 545 F. Supp. 2d

at 194; Tobin, 552 F.3d at 34. And by filing even more severe charges against me in

Connecticut, the government exceeded those limits here. Above all else, I was granted not one

but two new trial orders based on egregious prosecutorial misconduct, and instead of retrying me

within 70 days of this Court's new trial orders, they instead chose to file two frivolous appeals

that were not diligently prosecuted in either case under 18 U.S.C. §3731. The fact that the

government had to change its theory of the case in the second appeal, confirms both its

misconduct and its vindictiveness.

        Therefore, for the above-stated reasons, the Court should vacate my conviction and

sentence and dismiss my Indictment immediately for egregious prosecutorial misconduct and

malicious prosecutorial vindictiveness.




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